                                                                     Case 2:15-ap-01679-RK          Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40      Desc
                                                                                                     Main Document     Page 1 of 60



                                                                       1 Victor A. Sahn (CA Bar No. 97299)
                                                                          vsahn@sulmeyerlaw.com
                                                                       2 Steven F. Werth (CA Bar No. 205434)
                                                                          swerth@sulmeyerlaw.com
                                                                       3 David V. Sack (CA Bar No. 304528)
                                                                          dsack@sulmeyerlaw.com
                                                                       4 SulmeyerKupetz
                                                                           A Professional Corporation
                                                                       5 333 South Grand Ave., Suite 3400
                                                                         Los Angeles, California 90071
                                                                       6 Telephone: 213.626.2311
                                                                         Facsimile: 213.629.4520
                                                                       7
                                                                         Attorneys for Sam S. Leslie, Plan Agent
                                                                       8

                                                                       9                                UNITED STATES BANKRUPTCY COURT
                                                                      10                                CENTRAL DISTRICT OF CALIFORNIA
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11                                     LOS ANGELES DIVISION
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                      12 In re:                                             Case No. 2:13-bk-14135-RK

                                                                      13 ART AND ARCHITECTURE BOOKS OF THE                  Adv. No. 2:15-ap-01679-RK
                                                                         21ST CENTURY,
                                                                      14                                                    Chapter 11
                                                                                    Debtor.
                                                                      15                                                    Consolidated with Adv. No. 2:14-ap-01771-
SulmeyerKupetz,




                                                                         SAM LESLIE, as Plan Agent for ART &                RK and Adv. No. 2:15-ap-01680-RK
                                                                      16 ARCHITECTURE BOOKS OF THE 21ST
                                                                         CENTURY,                                           PLAN AGENT'S OBJECTIONS TO
                                                                      17                                                    FINDINGS OF FACT AND
                                                                                    Plaintiff,                              CONCLUSIONS OF LAW REGARDING
                                                                      18       vs.                                          BANKSY DISPUTE SUBMITTED BY 400
                                                                                                                            S. LA BREA LLC
                                                                      19 ACE GALLERY NEW YORK
                                                                         CORPORATION, et al.,                               Trial:
                                                                      20
                                                                                     Defendants.                            Date:    December 16-17, 2021
                                                                      21                                                              January 13-14, 2022
                                                                         400 S. LA BREA, LLC,                               Time:    9:00 a.m.
                                                                      22                                                    Place:   Courtroom 1675
                                                                                     Cross-Complainant,                              255 East Temple Street
                                                                      23                                                             Los Angeles, CA 90012
                                                                                vs.                                                  ZoomGov
                                                                      24                                                             [Hon. Robert N. Kwan]
                                                                         SAM LESLIE, et al.,
                                                                      25
                                                                                     Cross-Defendants.
                                                                      26

                                                                      27

                                                                      28
                                                                     Case 2:15-ap-01679-RK        Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40               Desc
                                                                                                   Main Document     Page 2 of 60



                                                                       1           Sam S. Leslie, Plan Agent for the Post-Confirmation Bankruptcy Estate of Art and

                                                                       2 Architecture Books of the 21st Century ("Plan Agent"), responds to the "Notice Of Lodging Of

                                                                       3 [400 S. La Brea, LLC's Proposed] Findings Of Fact And Conclusions Of Law Regarding The

                                                                       4 "Banksy" Contested Matter" [Docket No. 1258] (the "Notice"). The Notice attaches, as Exhibit 1,

                                                                       5 proposed findings of fact and conclusions of law which are referred to as the "Proposed Findings".

                                                                       6           Plan Agent responds to the Proposed Findings as follows:

                                                                       7                                                   I.

                                                                       8                             EXHIBITS ADMITTED INTO EVIDENCE

                                                                       9           Plan Agent has no objection to 400 S. La Brea, LLC's ("400 SLB") characterization of the
                                                                      10 exhibits admitted into evidence identified in the Proposed Findings, at page 3, lines 2-20.
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11                                                   II.
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                      12   DECLARATIONS ADMITTED INTO EVIDENCE AS DIRECT WITNESS TESTIMONY

                                                                      13           Plan Agent has no objection to 400 SLB's characterization of the declarations admitted into

                                                                      14 evidence as direct witness testimony identified in the Proposed Findings at page 3, line 23 to page

                                                                      15 4, line 10.
SulmeyerKupetz,




                                                                      16                                                  III.

                                                                      17                       FINDINGS OF FACT AND CONCLUSIONS OF LAW

                                                                      18           A.     Findings Of Fact

                                                                      19           The below chart identifies each of the 92 proposed findings of fact contained in the

                                                                      20 Proposed Findings, and Plan Agent's objections to those proposed findings if any. All emphasis is

                                                                      21 in the original. Capitalized terms that are not otherwise defined have the meaning given them in

                                                                      22 Plan Agent's proposed findings of fact and conclusions of law, submitted on March 15, 2022

                                                                      23 [Docket No. 1257].

                                                                      24

                                                                      25    NO.             PROPOSED FINDING OF FACT                           OBJECTION IF ANY
                                                                      26             General Procedural Background
                                                                              1.     On February 19, 2013 (the “Petition Date’), the No objection.
                                                                      27
                                                                                     Debtor Art & Architecture Books of the 21st
                                                                                     Century, dba Ace Gallery (the “Debtor”)                Sustained
                                                                      28

                                                                                                                            1
                                                                     Case 2:15-ap-01679-RK    Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40        Desc
                                                                                               Main Document     Page 3 of 60



                                                                       1          commenced the underlying chapter 11 bankruptcy          Overruled
                                                                                  case, Case No. 2-13-bk-14135-RK (the
                                                                       2          “Bankruptcy Case) by filing a voluntary petition
                                                                                  under chapter 11 of title 11 of the United States
                                                                       3
                                                                                  Code (the “Bankruptcy Code”).
                                                                       4     2.   On March 28, 2013, the United States Trustee No objection.
                                                                                  appointed the Official Committee of Unsecured
                                                                       5                                                              Sustained
                                                                                  Creditors (the “Committee”) in the Bankruptcy
                                                                                  Case.                                               Overruled
                                                                       6
                                                                             3.   On November 26, 2014, the Committee No objection.
                                                                       7
                                                                                  commenced an adversary proceeding against non-
                                                                                  debtor Ace Museum, a California nonprofit      Sustained
                                                                       8                                                         Overruled
                                                                                  corporation (“Ace Museum”) Adversary Case No.
                                                                       9          2:14-ap-01771-RK (the “Museum Adversary”) by
                                                                                  filing their Complaint for: (1) Money Had and
                                                                      10          Received; (2) Money Lent; (3) Open Book
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR




                                                                                  Account; (4) Account Stated; (5) Breach of
  A Professional Corporation




                                                                      11
                                                                                  Contract; (6) Avoidance, recovery, and
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                      12          Preservation of Fraudulent Transfers; and (7)
                                                                                  Turnover of Property of the Estate.
                                                                      13
                                                                             4.   Ace Museum is not, and never was, a debtor in the No objection.
                                                                      14          Bankruptcy Case.
                                                                                                                                           Sustained
                                                                      15                                                                   Overruled
SulmeyerKupetz,




                                                                             5.   On December 12, 2015, the Committee, filed its No objection.
                                                                      16          Complaint for: (1) Avoidance, Recovery, and
                                                                                  Preservation of Fraudulent Transfers; (2)                Sustained
                                                                      17          Avoidance, Recovery, and Preservation of                 Overruled
                                                                                  Preferential Transfers; (3) Turnover of Property;
                                                                      18          (4) Avoidance and Recovery of Transfers; (5)
                                                                      19          Avoidance and Recovery of Post-Petition
                                                                                  Transfers to Defendant Ace Gallery New York
                                                                      20          Corporation; and (6) Disallowance of Claims
                                                                                  [Adv. Docket No. 1], commencing the instant
                                                                      21          adversary proceeding, 2:15-ap-01679-RK (this
                                                                                  “Adversary Proceeding”).
                                                                      22
                                                                             6.   On March 18, 2016, the Court entered its Order No objection.
                                                                      23          Confirming     Second     Amended      Plan    of
                                                                                  Reorganization of Official Committee of               Sustained
                                                                      24                                                                Overruled
                                                                                  Unsecured     Creditors    as    Modified    (the
                                                                      25          “Confirmation    Order”),     which   effectively
                                                                                  dissolved the Committee and appointed the Plan
                                                                      26          Agent as successor plaintiff in this Adversary
                                                                                  Proceeding and the Museum Adversary.
                                                                      27
                                                                             7.   On July 8, 2016, 400 SLB commenced an No objection.
                                                                      28          unlawful detainer action against Ace Museum, as
                                                                                                                                  Sustained

                                                                                                                       2
                                                                     Case 2:15-ap-01679-RK    Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40       Desc
                                                                                               Main Document     Page 4 of 60



                                                                       1          lessee, and Mr. Chrismas, as guarantor, in the Los     Overruled
                                                                                  Angeles County Superior Court, commencing
                                                                       2          Case No. BC626437 (the “UD Action”) on
                                                                                  account of Ace Museum’s failure to pay rent due
                                                                       3
                                                                                  under the Lease (defined below).
                                                                       4     8.   On September 2, 2016, a Stipulation for Entry of No objection.
                                                                                  Judgment and Judgment Thereon (the “UD
                                                                       5                                                                  Sustained
                                                                                  Judgment”) was entered in the UD Action in favor
                                                                                  of 400 SLB pursuant to which, among other               Overruled
                                                                       6
                                                                                  things, (1) 400 SLB was awarded possession of the
                                                                       7          La Brea Property (defined below) and (2) the
                                                                                  Lease (defined below) was deemed forfeited.
                                                                       8
                                                                             9.   On January 13, 2017, upon the Plan Agent’s No objection.
                                                                       9          Motion, the Court entered an order consolidating
                                                                                  the Museum Adversary with this Adversary          Sustained
                                                                      10          Proceeding.                                       Overruled
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11     10. On January 25, 2017, the Committee obtained a No objection.
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                 writ of attachment against Ace Museum in the
                                                                      12         Museum Adversary.                                    Sustained
                                                                                                                                      Overruled
                                                                      13     11. On July 3, 2019, the Court entered in the No objection.
                                                                                 Adversary Proceeding a Final Judgment Against
                                                                      14         Ace Museum on the Twentieth, Twenty-First,           Sustained
                                                                                 Twenty-Second, Twenty-Third, and Twenty-Fourth       Overruled
                                                                      15
SulmeyerKupetz,




                                                                                 Claims for Relief in the Fifth Amended
                                                                      16         Consolidation      Complaint     (the   “Museum
                                                                                 Judgment”), pursuant to which a money judgment
                                                                      17         in the amount of $3,187,539.80 plus $47,201.04 in
                                                                                 fees and costs was entered against Ace Museum in
                                                                      18         favor of the Plan Agent.
                                                                      19     12. On March 7, 2020, in the Adversary Proceeding, No objection.
                                                                                 the Plan Agent filed his Application of Sam S.
                                                                      20         Leslie, Plan Agent, for Issuance of Writ of           Sustained
                                                                                 Execution and Appointment of Plaintiff as             Overruled
                                                                      21
                                                                                 Substitute Custodian for U.S. Marshal in
                                                                      22         Furtherance of Execution of Writ and Notice of
                                                                                 Levy; and for Order Approving Sale of Artworks
                                                                      23         Free and Clear of Any Claim of Lien or Interest
                                                                                 (“Application”), commencing this contested
                                                                      24         matter.
                                                                      25     13. On April 24, 2020, 400 SLB filed its 400 SLB No objection.
                                                                                 Defendants’: (1) Opposition to Application of
                                                                      26         Sam S. Leslie, Plan Agent, for Issuance of Writ of  Sustained
                                                                                 Execution and Appointment of Plaintiff as           Overruled
                                                                      27
                                                                                 Substitute Custodian for U.S. Marshal in
                                                                      28         Furtherance of Execution of Writ and Notice of

                                                                                                                        3
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                Desc
                                                                                                Main Document     Page 5 of 60



                                                                       1          Levy; and for Order Approving Sale of Artworks
                                                                                  Free and Clear of Any Claim of Lien or Interest;
                                                                       2          and (2) Request to Continue Hearing Thereon;
                                                                                  and (3) Request for Lease to Conduct Discovery
                                                                       3
                                                                                  on Contested Matter.
                                                                       4                             The Lease
                                                                       5     14. On July 21, 2006, 400 SLB, as lessor, and Douglas No objection.
                                                                                 Chrismas (“Mr. Chrismas”), as lessee, entered into
                                                                       6         an "AIR Commercial Real Estate Association               Sustained
                                                                                 Standard Industrial/Commercial Single-Tenant             Overruled
                                                                       7
                                                                                 Lease-Net" dated as of July 20, 2006 (as
                                                                       8         subsequently amended or assigned, the "Lease").
                                                                             15. The Lease is a form Lease drafted by AIRCRE,          Plan Agent objects to the
                                                                       9                                                               statement that the Lease was
                                                                                 fka AIR Commercial Real Estate Association
                                                                                 (“AIRCRE”), Form No. STN-9-3/06E. Certain             "drafted" by AIRCRE, as the
                                                                      10                                                               parties to the Lease drafted it but
                                                                                 language from the form lease was deleted and
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR




                                                                                                                                       appear to have used an AIRCRE
  A Professional Corporation




                                                                      11         certain exhibits were added as agreed to between      form of some kind as template.
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                 the parties thereto.                                  The phrase: "language from the
                                                                      12                                                               form lease" is thus imprecise as
                                                                                                                                       no actual form lease was
                                                                      13                                                               admitted into evidence upon
                                                                                                                                       which this statement can be
                                                                      14                                                               based. Exhibit D-28 was
                                                                                                                                       admitted but only as to paragraph
                                                                      15
SulmeyerKupetz,




                                                                                                                                       7.3(b) of that form. With respect
                                                                                                                                       to that, it does appear that that
                                                                      16                                                               language is the base language
                                                                                                                                       used for paragraph 7.3(b) of the
                                                                      17                                                               Lease.
                                                                      18                                                                      Sustained
                                                                                                                                              Overruled
                                                                      19

                                                                      20     16. The Lease related to certain real property located    No objection.
                                                                                 at 400 S. La Brea Avenue, Los Angeles,
                                                                      21         California, sometimes also referred to as 420 S. La          Sustained
                                                                                 Brea Avenue (APN #5507-009-025) and 407 S.                   Overruled
                                                                      22         Sycamore Avenue, Los Angeles, California (APN
                                                                                 #5507-009-023) (collectively, the “La Brea
                                                                      23         Property”).
                                                                      24     17. During all times relevant to this contested matter,   No objection.
                                                                                 400 SLB owned the La Brea Property.
                                                                      25                                                                      Sustained
                                                                                                                                              Overruled
                                                                      26     18. On August 28, 2009, 400 SLB, Mr. Chrismas, and        No objection.
                                                                                 Ace Museum entered into an "Assignment and
                                                                      27         First Amendment to Standard                                  Sustained
                                                                                 Industrial/Commercial Single Tenant Lease-Net"               Overruled
                                                                      28         (the “Lease Assignment”) pursuant to which Mr.

                                                                                                                        4
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                Desc
                                                                                                Main Document     Page 6 of 60



                                                                       1         Chrismas assigned his rights as lessee under the
                                                                                 Lease to Ace Museum.
                                                                       2     19. Paragraph 7.3(a) of the Lease states, in part that      No objection.
                                                                       3         “[t]he term “Alterations” shall mean any
                                                                                 modification of the improvements, other than                   Sustained
                                                                                 Utility Installations or Trade Fixtures, whether by            Overruled
                                                                       4
                                                                                 addition or deletion."
                                                                       5     20. The categories excluded from the definition of          No objection.
                                                                                 “Alterations” under Paragraph 7.3(a) of the Lease,
                                                                       6         that is “Utility Installations” and “Trade Fixtures”,          Sustained
                                                                                 are defined under Paragraph 7.3(a) of the Lease                Overruled
                                                                       7
                                                                                 as follows:
                                                                       8
                                                                                 The term "Utility Installations" refers to all floor
                                                                       9         and window coverings, air and/or vacuum lines,
                                                                                 power panels, electrical distribution, security and
                                                                      10
                                                                                 fire protection systems, communication cabling,
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR




                                                                                 lighting fixtures, HVAC equipment, plumbing,
  A Professional Corporation




                                                                      11
                              LOS ANGELES, CALIFORNIA 90071-1406




                                                                                 and fencing in or on the Premises. The term
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                      12         "Trade Fixtures" shall mean Lessee's machinery
                                                                                 and equipment that can be removed without doing
                                                                      13         material damage to the Premises.
                                                                             21. The “Premises” under the Lease means the La             The term "Premises" is not
                                                                      14                                                                 defined in the Lease. Instead,
                                                                                 Brea Property
                                                                                                                                         that terms appears as a heading
                                                                      15
SulmeyerKupetz,




                                                                                                                                         in Paragraph 1.2 of the Lease,
                                                                                                                                         and is followed by a colon and
                                                                      16                                                                 the following:
                                                                      17                                                                 "That certain real property,
                                                                                                                                         including all improvements
                                                                      18                                                                 therein or to be provided by
                                                                                                                                         Lessor under the terms of this
                                                                      19                                                                 Lease, commonly known as
                                                                                                                                         [Property] located in the County
                                                                      20                                                                 of ____, State of ____, and
                                                                                                                                         generally described as …
                                                                      21                                                                 Approximately 90,790 sq. ft. of
                                                                                                                                         land and all improvements
                                                                      22                                                                 located thereon, including a two-
                                                                                                                                         story building containing
                                                                      23                                                                 approximately 59,000 sq. ft.
                                                                                                                                         (including outdoor area under the
                                                                      24                                                                 building overhang) (the
                                                                                                                                         "Building")."
                                                                      25
                                                                                                                                         As such, Plan Agent objects that
                                                                      26                                                                 this statement is not accurate.
                                                                      27                                                                        Sustained
                                                                                                                                                Overruled
                                                                      28

                                                                                                                          5
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40               Desc
                                                                                                Main Document     Page 7 of 60



                                                                       1     22. “Lessee Owned Alterations” are defined in             No objection.
                                                                                 Paragraph 7.3(a) of the Lease as “Alterations
                                                                       2         …made by Lessee that are not yet owned by                     Sustained
                                                                                 Lessor pursuant to Paragraph 7.4(a).”                         Overruled
                                                                       3
                                                                             23. Paragraph 7.4(a) of the Lease, entitled               No objection.
                                                                       4         “Ownership” provides, in its entirety:
                                                                                                                                               Sustained
                                                                       5         (a) Ownership. Subject to Lessor’s right to                   Overruled
                                                                                 require removal or elect ownership as hereinafter
                                                                       6         provided, all Alterations and Utility Installations
                                                                       7         made by Lessee shall be the property of Lessee,
                                                                                 but considered a part of the Premises. Lessor may,
                                                                       8         at any time, elect in in writing to be the owner of
                                                                                 all or any specified part of the Lessee Owned
                                                                       9         Alterations and Utility Installations. Unless
                                                                                 otherwise instructed per paragraph 7.4(b) hereof,
                                                                      10         all Lessee Owned Alterations and Utility
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR




                                                                                 Installations shall, at the expiration or termination
  A Professional Corporation




                                                                      11
                              LOS ANGELES, CALIFORNIA 90071-1406




                                                                                 of this Lease become the property or Lessor and be
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                      12         surrendered by Lessee with the Premises.
                                                                             24. Paragraph 7.4(b) of the Lease, entitled “Removal” No objection.
                                                                      13         provides, in its entirety:
                                                                                                                                               Sustained
                                                                      14                                                                       Overruled
                                                                                 (b) Removal. By delivery to Lessee of written
                                                                      15         notice from Lessor not earlier than 90 and not later
SulmeyerKupetz,




                                                                                 than 30 days prior to the end of the term of this
                                                                      16         lease, Lessor may require that any or all Lessee
                                                                                 Owned Alterations or Utility Installations be
                                                                      17         removed by the expiration or termination of this
                                                                                 Lease. Lessor may require the removal at any time
                                                                      18
                                                                                 of all or any part of any Lessee Owned Alterations
                                                                      19         or Utility Installations made without the required
                                                                                 consent.
                                                                      20     25. There is no evidence in the record that 400 SLB       Plan Agent objects to this
                                                                                 exercised its rights under Paragraph 7.4(b) of the    statement as there is no reference
                                                                      21         Lease and required Ace Museum, under Paragraph to any document or transcript
                                                                      22         7.4(b) of the Lease, to remove any “Lessee Owned that supports this broad finding.
                                                                                                                                       400 SLB refers to Mr. Dayan's
                                                                                 Alterations” or “Utility Installations” from the La   and Mr. Chrismas's declarations
                                                                      23         Brea Property.                                        "generally" in support of this
                                                                                                                                       factual finding, but the question
                                                                      24                                                               was never asked of any witness,
                                                                                                                                       and there is no specific statement
                                                                      25                                                               400 SLB identifies that can be
                                                                                                                                       reviewed to confirm or deny
                                                                      26                                                               statement.
                                                                      27                                                               To the extent this statement is
                                                                                                                                       limited solely to the drywall
                                                                      28                                                               upon which the purported

                                                                                                                         6
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                  Desc
                                                                                                Main Document     Page 8 of 60



                                                                       1                                                                 "Banksy" appeared that is the
                                                                                                                                         subject of this dispute – the
                                                                       2                                                                 "Drywall"), and is limited in time
                                                                                                                                         to the period during which the
                                                                       3                                                                 Drywall existed at the Premises,
                                                                                                                                         Plan Agent acknowledges that
                                                                       4                                                                 (1) no witness was asked whether
                                                                                                                                         400 SLB sent a Paragraph 7.4(b)
                                                                       5                                                                 notice, (2) no evidence in the
                                                                                                                                         record indicates that 400 SLB
                                                                       6                                                                 sent such a notice, (3) there is no
                                                                                                                                         way to fairly conclude from
                                                                       7                                                                 circumstantial evidence that 400
                                                                                                                                         SLB sent such a notice, and (4)
                                                                       8                                                                 Plan Agent has no reason to
                                                                                                                                         believe such notice was actually
                                                                       9                                                                 sent.
                                                                      10                                                                 Thus, as to that limited issue, the
                                                                                                                                         notion that "absence of evidence
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11                                                                 is evidence of absence" probably
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                                                                         can be applied without
                                                                      12                                                                 compromising the evidentiary
                                                                                                                                         record.
                                                                      13
                                                                                                                                                Sustained
                                                                      14                                                                        Overruled
                                                                      15
SulmeyerKupetz,




                                                                             26. Under Paragraphs 1.8 and 8.3 of the Lease, the          This is an incomplete summary
                                                                                 lessor as the insuring party would be responsible       of paragraph 8.3 of the Lease,
                                                                      16         for maintaining insurance against any losses to the     which states in part:
                                                                      17         La Brea Property, but Lessee Owned Alternations
                                                                                                                                         "[…] If Lessor is the Insuring
                                                                                 are excluded from the lessor’s insurance                Party, however, Lessee Owned
                                                                      18         obligations under Paragraph 8.4(a) of the Lease.        Alterations and Utility
                                                                                                                                         Installations, Trade Fixtures, and
                                                                      19                                                                 Lessee's personal property shall
                                                                                                                                         be insured by Lessee under
                                                                      20                                                                 Paragraph 8.4 rather than by
                                                                                                                                         Lessor…."
                                                                      21
                                                                                                                                                Sustained
                                                                      22                                                                        Overruled
                                                                      23
                                                                             27. Paragraph 7.3(b) of the Lease entitled “Consent”        Plan Agent objects that this is an
                                                                      24         provides:                                               incomplete statement. In the
                                                                                                                                         Addendum to the Lease, in
                                                                      25                                                                 Section 3, the parties agreed that
                                                                                  (b) Consent. Lessee shall not make any
                                                                                                                                         "The following provisions are
                                                                      26          Alterations or Utility Installations to the Premises   hereby added to Paragraph 7.3(b)
                                                                                  without Lessor's prior written consent. [four lines    of the Lease:" and thereafter,
                                                                      27          of text deleted from form Lease]. Lessee shall not     there are 37 single-spaced lines
                                                                                  make or permit any roof penetrations and/or install    of text which will not be re-typed
                                                                      28          anything on the roof without the prior written         here, but exist in Exhibit D-10,

                                                                                                                          7
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                  Desc
                                                                                                Main Document     Page 9 of 60



                                                                       1          approval of Lessor. Lessor may, as a precondition      on page 138 of that Exhibit.
                                                                                  to granting such approval, require Lessee to utilize
                                                                       2          a contractor chosen and/or approved by Lessor.         Further, within those 37 lines are
                                                                                  Any Alterations or Utility Installations that Lessee   references to additional
                                                                       3                                                                 documents that further modify
                                                                                  shall desire to make [deleted text from form           the statements contained in that
                                                                       4          Lease] shall be presented to lessor in written form    text, among them an Exhibit "B"
                                                                                  with detailed plans. Consent shall be deemed           to the Addendum which is found
                                                                       5          conditioned upon Lessee's: (i) acquiring all           at Plan Agent's Exhibit P-14.
                                                                                  applicable governmental permits, (ii) furnishing
                                                                       6          Lessor with copies of both the permits and the         Further, on August 28, 2009, the
                                                                                                                                         Lease was amended by a First
                                                                       7          plans and specifications prior to commencement of      Amendment, and that First
                                                                                  the work, and (ii) compliance with all conditions      Amendment specifically
                                                                       8          of said permits and other Applicable Requirements      referenced Paragraph 7.3 of the
                                                                                  in a prompt and expeditious manner. Any                Lease. That document can be
                                                                       9          Alterations or Utility Installations shall be          found at P-15, and the specific
                                                                                  performed in a workmanlike manner with good            language in Section 3 under
                                                                      10          and sufficient materials. Lessee shall promptly        "Amendment Terms". That
                                                                                                                                         section contains the statement:
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR




                                                                                  upon completion furnish Lessor with as-built plans
  A Professional Corporation




                                                                      11                                                                 "Subject to satisfaction of all of
                              LOS ANGELES, CALIFORNIA 90071-1406




                                                                                  and specifications [deleted text from form Lease].
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                                                                         the terms and conditions of
                                                                      12          Lessor may condition its consent upon Lessee           Paragraph 7.3 of the Form Lease
                                                                                  providing a lien and completion bond in an             (as modified by Paragraph 3 of
                                                                      13          amount equal to 150% of the estimated cost of          the Addendum) … Lessor hereby
                                                                                  such Alteration or Utility Installation and/or upon    agrees that Lessee shall have the
                                                                      14          Lessee's posting a [deleted word from form Lease]      right to perform Alterations
                                                                                                                                         and/or Utility Installations to the
                                                                      15          Security Deposit with Lessor.
SulmeyerKupetz,




                                                                                                                                         Premises as currently
                                                                                                                                         contemplated by Lessee,
                                                                      16                                                                 including, but not limited to,
                                                                                                                                         certain structural improvements
                                                                      17                                                                 and improvements affecting the
                                                                                                                                         building systems (the "Premises
                                                                      18                                                                 Improvements")
                                                                      19
                                                                                                                                          Sustained
                                                                      20                                                                  Overruled
                                                                             28. The language from Paragraph 7.3(b) deleted by the No objection.
                                                                      21         parties from the AIRCRE form lease is reflected
                                                                                 below in bold:                                           Sustained
                                                                      22                                                                  Overruled
                                                                      23          (b) Consent. Lessee shall not make any Alterations
                                                                                  or Utility Installations to the Premises without
                                                                      24          Lessor's prior written consent. Lessee may,
                                                                                  however, make non-structural Utility
                                                                      25          Installations to the interior of the Premises
                                                                                  (excluding the roof) without such consent but
                                                                      26
                                                                                  upon notice to Lessor, as long as they are not
                                                                      27          visible from the outside, do not involve
                                                                                  puncturing, relocating or removing the roof or
                                                                      28          any existing walls. will not affect the electrical,

                                                                                                                          8
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                  Desc
                                                                                                Main Document    Page 10 of 60



                                                                       1         plumbing, HVAC, and/or life safety systems,
                                                                                 and the cumulative cost thereof during this
                                                                       2         Lease as extended does not exceed a sum equal
                                                                                 to 3 month's Base Rent in the aggregate or a
                                                                       3
                                                                                 sum equal to one month's Base Rent in any one
                                                                       4         year. Notwithstanding the foregoing, Lessee
                                                                                 shall not make or permit any roof penetrations
                                                                       5         and/or install anything on the roof without the
                                                                                 prior written approval of Lessor. Lessor may, as a
                                                                       6         precondition to granting such approval, require
                                                                       7         Lessee to utilize a contractor chosen and/or
                                                                                 approved by Lessor. Any Alterations or Utility
                                                                       8         Installations that Lessee shall desire to make and
                                                                                 which require the consent of the Lessor shall be
                                                                       9         presented to lessor In written form with detailed
                                                                                 plans. Consent shall be deemed conditioned upon
                                                                      10         Lessee's: (i) acquiring all applicable governmental
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR




                                                                                 permits, (ii) furnishing Lessor with copies of both
  A Professional Corporation




                                                                      11
                              LOS ANGELES, CALIFORNIA 90071-1406




                                                                                 the permits and the plans and specifications prior
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                      12         to commencement of the work, and (ii)
                                                                                 compliance with all conditions of said permits and
                                                                      13         other Applicable Requirements in a prompt and
                                                                                 expeditious manner. Any Alterations or Utility
                                                                      14         Installations shall be performed in a workmanlike
                                                                      15         manner with good and sufficient materials. Lessee
SulmeyerKupetz,




                                                                                 shall promptly upon completion furnish Lessor
                                                                      16         with as-built plans and specifications. For work
                                                                                 which costs an amount in excess of one month’s
                                                                      17         Base Rent, Lessor may condition its consent upon
                                                                                 Lessee providing a lien and completion bond in an
                                                                      18
                                                                                 amount equal to 150% of the estimated cost of
                                                                      19         such Alteration or Utility Installation and/or upon
                                                                                 Lessee's posting an additional Security Deposit
                                                                      20         with Lessor.
                                                                             29. The language stricken from the form AIRCRE              Plan Agent notes that 400 SLB
                                                                      21         lease, as noted in FOF No. 25, reflects an              likely intended to refer here to
                                                                                 agreement between the parties to the Lease to           finding of fact 28, not 25.
                                                                      22
                                                                                 require the consent of lessor as to all “Alterations”
                                                                                                                                         Plan Agent objects to this finding
                                                                      23         and “Utility Installations”, without exception, as      as it is not a statement of fact but
                                                                                 the stricken language provided a limited exception      a legal conclusion.
                                                                      24         to the consent requirement.
                                                                                                                                         Plan Agent further objects to this
                                                                      25                                                                 statement as 400 SLB urges the
                                                                                                                                         Court to reach a legal conclusion
                                                                      26                                                                 – that there was an "agreement
                                                                                                                                         between the parties to the Lease
                                                                      27                                                                 to require the consent of lessor as
                                                                                                                                         to all "Alterations" and "Utility
                                                                      28                                                                 Installations", without

                                                                                                                          9
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                   Desc
                                                                                                Main Document    Page 11 of 60



                                                                       1                                                                  exception…" based solely on the
                                                                                                                                          statements contained in FOF No.
                                                                       2                                                                  27 FOF No. 28. As noted above,
                                                                                                                                          FOF No. 27 is an incomplete
                                                                       3                                                                  statement. Further, there are
                                                                                                                                          numerous other provisions of the
                                                                       4                                                                  Lease, such as Paragraph 7.1 and
                                                                                                                                          6.2, which modify this right and
                                                                       5                                                                  apply to the circumstances here.
                                                                       6                                                                  Plan Agent further objects to this
                                                                                                                                          statement as being unsupported
                                                                       7                                                                  by the actual text of Exhibit D-
                                                                                                                                          28. Paragraph 7.3(b) of that
                                                                       8                                                                  exhibit provides a "limited
                                                                                                                                          exception" to the consent
                                                                       9                                                                  requirement regarding "Utility
                                                                                                                                          Installations" solely – not Utility
                                                                      10                                                                  Installations and Alterations as
                                                                                                                                          400 SLB states.
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                                                                          Additionally, Paragraph 7.3(b) of
                                                                      12                                                                  Exhibit D-28 nowhere discusses
                                                                                                                                          Alterations, and therefore would
                                                                      13                                                                  not have been an exception to the
                                                                                                                                          consent requirement relating to
                                                                      14                                                                  alterations, had it been included
                                                                                                                                          in the Lease.
                                                                      15
SulmeyerKupetz,




                                                                                                                                                 Sustained
                                                                      16                                                                         Overruled
                                                                      17     30. Paragraph 7.1(a) of the Lease, which details             No objection.
                                                                                 lessee's maintenance and repair obligations,
                                                                      18         provides, in relevant part:                                     Sustained
                                                                                                                                                 Overruled
                                                                      19
                                                                                  … Lessee shall, at lessee's sole expense, keep the
                                                                      20          Premises, Utility Installations (intended for
                                                                                  Lessee's exclusive use, no matter where located),
                                                                      21          and Alterations in good order, condition and repair
                                                                                  (whether or not the portion of the Premises
                                                                      22          requiring repairs, or the means of repairing the
                                                                      23          same, are reasonably or readily accessible to
                                                                                  Lessee, and whether or not the need for such
                                                                      24          repairs occurs as a result of Lessee's use, any prior
                                                                                  use, the elements or the age of such portion of the
                                                                      25          Premises), including, but not limited to. all
                                                                                  equipment or facilities, such as plumbing, HVAC
                                                                      26          equipment, electrical, lighting facilities, boilers,
                                                                      27          pressure vessels, fire protection system, fixtures,
                                                                                  walls (interior and exterior), foundations, ceilings,
                                                                      28          roofs, roof drainage systems, floors, windows,

                                                                                                                          10
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40            Desc
                                                                                                Main Document    Page 12 of 60



                                                                       1          doors, plate glass, skylights, landscaping,
                                                                                  driveways, parking lots, fences, retaining walls,
                                                                       2          signs, sidewalks and parkways located in, on, or
                                                                                  adjacent to the Premises. Lessee, in keeping the
                                                                       3
                                                                                  Premises in good order, condition and repair, shall
                                                                       4          exercise and perform good maintenance practices,
                                                                                  specifically including the procurement and
                                                                       5          maintenance of the Service Contracts required by
                                                                                  Paragraph 7.1(b) below. Lessee's obligations shall
                                                                       6          include restorations, replacements or renewals
                                                                       7          when necessary to keep the Premises and an
                                                                                  improvement thereon or a part thereof in good
                                                                       8          order, condition and state of repair. Lessee shall,
                                                                                  during the term of this Lease, keep the exterior
                                                                       9          appearance of the Building in a first-class
                                                                                  condition (including, e.g. graffiti removal)
                                                                      10          consistent with the exterior appearance of other
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR




                                                                                  similar facilities of comparable age and size in the
  A Professional Corporation




                                                                      11
                              LOS ANGELES, CALIFORNIA 90071-1406




                                                                                  vicinity, including, when necessary, the exterior
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                      12          repainting of the Building.

                                                                      13     31. Concurrent with the execution of the Lease, 400         No objection.
                                                                                 SLB and Mr. Chrismas entered into an
                                                                      14                                                                        Sustained
                                                                                 “Addendum to Standard Industrial/Commercial
                                                                                 Single-Tenant Lease-Net” (the “Lease                           Overruled
                                                                      15
SulmeyerKupetz,




                                                                                 Addendum”).
                                                                      16     32. Paragraph 3 of the Lease Addendum added certain         No objection.
                                                                                 terms to Paragraph 7.3(b) of the Lease, including
                                                                      17         the following:                                                 Sustained
                                                                                                                                                Overruled
                                                                      18
                                                                                  …Lessee has informed Lessor that in Lessee's art
                                                                      19          gallery business, it is customary that frequent
                                                                                  construction work will be necessary to construct
                                                                      20          and remove interior, nonstructural walls (and
                                                                                  perform related drywall finish and repair) as
                                                                      21          necessary to accommodate exhibitions and
                                                                      22          showings. With respect to such customary work,
                                                                                  if permitted by Applicable Requirements
                                                                      23          (including, without limitation, the California
                                                                                  Contractor's State Licensing Law), Lessee shall
                                                                      24          have the right to have its own employees
                                                                                  experienced in such work perform such work.
                                                                      25          Subject to Applicable Requirements and all of the
                                                                      26          other terms and conditions of the Lease pertaining
                                                                                  to construction and insurance rules and
                                                                      27          procedures, Lessor acknowledges that Lessee
                                                                                  intends to initially make certain improvements,
                                                                      28          modifications and alterations to Premises

                                                                                                                         11
                                                                     Case 2:15-ap-01679-RK      Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                  Desc
                                                                                                 Main Document    Page 13 of 60



                                                                       1         ("Tenant's Work") and Lessor hereby conceptually
                                                                                 approves such Tenant's Work as evidenced by the
                                                                       2         hand-marked plans and specifications attached
                                                                                 hereto as Exhibit "B"; provided, however, this
                                                                       3
                                                                                 approval shall not (i) be deemed to permit Lessee
                                                                       4         to make any structural modifications or alterations
                                                                                 to the Premises, (ii) create any liability on the part
                                                                       5         of Lessor; or (ii) relieve Lessee of any of its
                                                                                 obligations. or duties under the Lease with respect
                                                                       6         to its duties and obligations regarding construction
                                                                       7         and insurance, nor waive any requirement or right
                                                                                 for the benefit of Lessor pertaining thereto,
                                                                       8         including without limitation, the provisions of
                                                                                 Paragraph 7 of the Lease as modified by this
                                                                       9         Addendum.
                                                                             33. The following sentence from Paragraph 3 of the           Plan Agent objects that this is a
                                                                      10         Lease Addendum is a disclosure by the lessee             conclusion of law, not a
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR




                                                                                 regarding certain work it may perform, and it does       statement of fact.
  A Professional Corporation




                                                                      11
                              LOS ANGELES, CALIFORNIA 90071-1406




                                                                                 not reflect any agreement between the parties that
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                                                                          Regardless, it is an incorrect
                                                                      12         anything therein should supersede the terms of the       statement, as the first paragraph
                                                                                 Lease:                                                   of the Addendum states:
                                                                      13
                                                                                  Lessee has informed Lessor that in Lessee's art         "To the extent that the provisions
                                                                      14                                                                  of this Addendum are
                                                                                  gallery business, it is customary that frequent
                                                                                  construction work will be necessary to construct        inconsistent with the terms and
                                                                      15
SulmeyerKupetz,




                                                                                                                                          conditions of the Lease, the
                                                                                  and remove interior, nonstructural walls (and           terms outlined herein shall
                                                                      16          perform related drywall finish and repair) as           supersede any contrary
                                                                                  necessary to accommodate exhibitions and                provisions in the Lease and
                                                                      17          showings. With respect to such customary work, if       prevail and control for all
                                                                                  permitted by Applicable Requirements (including,        purposes."
                                                                      18
                                                                                  without limitation, the California Contractor's
                                                                                  State Licensing Law), Lessee shall have the right       Thus the Addendum by its own
                                                                      19                                                                  terms is an agreement between
                                                                                  to have its own employees experienced in such           400 SLB and Mr. Chrismas that
                                                                      20          work perform such work.                                 anything contained therein
                                                                                                                                          supersedes the terms of the
                                                                      21                                                                  Lease—to the extent such terms
                                                                                                                                          are inconsistent with the terms
                                                                      22                                                                  and conditions of the Lease.
                                                                      23                                                                         Sustained
                                                                                                                                                 Overruled
                                                                      24

                                                                      25
                                                                             34. The copy of the Lease submitted by the Plan              No objection.
                                                                      26
                                                                                 Agent, admitted as Exhibit P14 (commencing at
                                                                                 page 91), attaches a letter dated July 20, 2006 on              Sustained
                                                                      27                                                                         Overruled
                                                                                 Ace Gallery Los Angeles letterhead signed by
                                                                      28         lessor and lessee (the “July 20, 2006 Letter”),

                                                                                                                          12
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                  Desc
                                                                                                Main Document    Page 14 of 60



                                                                       1          which purports to describe work to be performed
                                                                                  at the La Brea Property, which includes the
                                                                       2          following:
                                                                       3
                                                                                  This written description is to accompany the set of
                                                                       4          red-lined drawing for the main floor of 400 S. La
                                                                                  Brea.
                                                                       5          All work will be done per the City of Los Angeles
                                                                                  requirements with Permits
                                                                       6

                                                                       7          Any specialized automobile equipment will be
                                                                                  removed
                                                                       8
                                                                                  The red lines on the plans indicate new walls
                                                                       9          All venting will be removed
                                                                      10          Throughout the 1st and 2nd floors all dropped
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR




                                                                                  ceiling will be removed
  A Professional Corporation




                                                                      11
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                      12          All partition walls will be removed …

                                                                      13          Along the La Brea Side of the façade there might
                                                                                  be a glass wall from ground to new ceiling height
                                                                      14          running the entire length of La Brea.
                                                                      15          Approximately two and a half feet east of that
SulmeyerKupetz,




                                                                                  glass wall running parallel to the glass wall could
                                                                      16          be a wall and/or we might build a stucco wall to
                                                                                  run the full length …
                                                                      17
                                                                                  This description, along with the floor plan for the
                                                                      18
                                                                                  1st and 2nd floor is a possibility for our immediate
                                                                      19          development of the property. It is not impossible
                                                                                  that we might elect to do a much more
                                                                      20          comprehensive development with a high level
                                                                                  architect. This will be decided in the coming
                                                                      21          months, as we are able to research the potential of
                                                                                  property for our needs.
                                                                      22

                                                                      23
                                                                             35. The July 20, 2006 Letter does not reflect any           Plan Agent objects that this is a
                                                                      24         agreement between the parties that anything             conclusion of law, not a
                                                                                 therein should supersede the terms of the Lease.        statement of fact.
                                                                      25
                                                                                                                                         Regardless, it is an incorrect
                                                                      26                                                                 statement. This letter is Exhibit
                                                                                                                                         "B" to the Addendum, and the
                                                                      27                                                                 Addendum states in its first
                                                                                                                                         paragraph:
                                                                      28

                                                                                                                          13
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40               Desc
                                                                                                Main Document    Page 15 of 60



                                                                       1                                                               "To the extent that the provisions
                                                                                                                                       of this Addendum are
                                                                       2                                                               inconsistent with the terms and
                                                                                                                                       conditions of the Lease, the
                                                                       3                                                               terms outlined herein shall
                                                                                                                                       supersede any contrary
                                                                       4                                                               provisions in the Lease and
                                                                                                                                       prevail and control for all
                                                                       5                                                               purposes."
                                                                       6                                                               Thus the Addendum by its own
                                                                                                                                       terms is an agreement between
                                                                       7                                                               400 SLB and Mr. Chrismas that
                                                                                                                                       anything contained therein—
                                                                       8                                                               which includes this letter--
                                                                                                                                       supersedes the terms of the
                                                                       9                                                               Lease.
                                                                      10                                                                      Sustained
                                                                                                                                              Overruled
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                             36. The “hand marked” or “redlined” referenced in the     This is a reference to the "hand-
                                                                      12         Lease Addendum and the July 20, 2006 Letter           marked plans" reference in
                                                                                 have not been submitted into evidence.                Paragraph 3 of the Addendum
                                                                      13                                                               mentioned above in FOF #34.
                                                                                                                                       Plan Agent has no objection to
                                                                      14                                                               this statement.
                                                                      15
SulmeyerKupetz,




                                                                                                                                              Sustained
                                                                                                                                              Overruled
                                                                      16
                                                                                               The Renovation Project
                                                                      17
                                                                             37. The record reflects that it was Mr. Chrismas’         No objection.
                                                                      18         intention upon leasing the La Brea Property to
                                                                                 renovate the entire space and convert it from a car          Sustained
                                                                      19         dealership operated by the previous tenant into a            Overruled
                                                                                 contemporary museum space (the “Renovation
                                                                      20
                                                                                 Project”).
                                                                      21     38. In connection with the Renovation project, Mr.        No objection.
                                                                                 Chrismas obtained a building permit No. 08016-
                                                                      22         10000-1523 dated September 15, 2009 (the                     Sustained
                                                                                 “Building Permit”) which described the                       Overruled
                                                                      23         Renovation Project in the Description of Work as
                                                                      24         “Proposed change of use from an existing auto
                                                                                 dealership to art gallery and addition of ticket
                                                                      25         booth new walls inside of the existing, new
                                                                                 rooftop also.”
                                                                      26     39. In connection with the Renovation Project, Mr.        No objection.
                                                                                 Chrismas’ created or otherwise commissioned the
                                                                      27         creation of: (1) detailed architectural plans (the           Sustained
                                                                                 “Museum Plans”; Exhibit D12); (2) an illustrated             Overruled
                                                                      28

                                                                                                                        14
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40               Desc
                                                                                                Main Document    Page 16 of 60



                                                                       1         brochure containing computer-generated images
                                                                                 and floorplans (the “Image Book”; Exhibit D13);
                                                                       2         and (3) a physical scale model of the La Brea
                                                                                 Property (the “Model”; Exhibit D9).
                                                                       3
                                                                             40. Though Mr. Chrismas never completed the               Plan Agent objects to the part of
                                                                       4         Renovation Project, including the installation of a   this statement that the
                                                                                 plate glass window and/or the wall which was to       Renovation Project resulted in
                                                                       5         hold a Robert Irwin light sculpture (both of which    the construction of "a uniform
                                                                                                                                       grey and white façade".
                                                                                 were to be constructed along the first floor of the
                                                                       6         La Brea Property facing La Brea Avenue)               As to this statement, none of the
                                                                       7         comparing exterior photographs of the La Brea         evidence cited supports this
                                                                                 Property from July 2007 (Exhibit D4) and May          conclusion. the pictures in
                                                                       8         2009 (Exhibit D14) indicates that the building        support of this statement show
                                                                                 underwent substantial renovation, including the       that the Premises had no wall, at
                                                                       9                                                               all, on the western side of the
                                                                                 removal of the previous car dealership façade and     ground floor facing La Brea
                                                                                 the construction of a uniform grey and white          avenue. The cited portion of Mr.
                                                                      10         façade facing La Brea Avenue. The Plan Agent’s        Chrismas's trial declaration
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR




                                                                                 expert similarly testified that the construction      relates to his reasoning for
  A Professional Corporation




                                                                      11
                                                                                                                                       installing the Drywall, not to the
                              LOS ANGELES, CALIFORNIA 90071-1406




                                                                                 progress between July 2007 and May 2009
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                      12         appeared to reflect a “uniform feeling” of the        extent of construction that
                                                                                 building.                                             occurred at the Premises.
                                                                      13
                                                                                                                                       Nor is this statement a fair
                                                                      14                                                               summary of Mr. Ottinger's
                                                                                                                                       testimony at trial. Mr. Ottinger
                                                                      15                                                               stated: "It does look like there
SulmeyerKupetz,




                                                                                                                                       was thought put into making it as
                                                                      16                                                               a uniform, a uniform feeling to
                                                                                                                                       the building." (Day 3 Transcript,
                                                                      17                                                               33:11-13).

                                                                      18                                                                      Sustained
                                                                                                                                              Overruled
                                                                      19

                                                                      20     41. From approximately 2011 until approximately           No objection.
                                                                                 2017 Alberto Hernandez performed construction
                                                                      21         work at the La Brea Property relating to the                 Sustained
                                                                                 Renovation Project; on a part-time basis from                Overruled
                                                                      22         2011-2014 and on a near-full time basis from
                                                                                 2014-2017.
                                                                      23
                                                                             42. The evidence indicates that there were interior       No objection.
                                                                      24         gallery rooms constructed on the first floor by Mr.
                                                                                 Hernandez using metal beams attached to the                  Sustained
                                                                      25         concrete floor and ceiling, with drywall installed           Overruled
                                                                                 thereon. Such gallery rooms were used during an
                                                                      26         Andrew Holmes exhibition held in or around
                                                                      27         October 2016, pictures of which have been
                                                                                 admitted into evidence as Exhibit D18.
                                                                      28     43. The evidence indicates that as of May 2013 there      No objection.

                                                                                                                        15
                                                                     Case 2:15-ap-01679-RK    Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40               Desc
                                                                                               Main Document    Page 17 of 60



                                                                       1         were also large gallery spaces constructed on the
                                                                                 second floor using metal beams attached to the              Sustained
                                                                       2         concrete floor and ceiling, with drywall installed          Overruled
                                                                                 thereon and there were also unfinished rooms on
                                                                       3
                                                                                 the second floor consisting of metal beam framing.
                                                                       4     44. Mr. Hernandez testified that after May 2013, he      No objection.
                                                                                 performed further construction work on the second
                                                                       5         floor of the La Brea property, so that by 2017              Sustained
                                                                                 many of the unfinished rooms shown in Exhibits              Overruled
                                                                       6         P19- 26 were fully constructed and approximately
                                                                       7         50% of the second floor space was complete,
                                                                                 including all drywall and electrical installation.
                                                                       8     45. There is no evidence in the record of temporary      Plan Agent objects to this
                                                                                 interior walls ever being constructed at the La      statement as 400 SLB makes a
                                                                       9         Brea Property.                                       statement without citing to any
                                                                                                                                      fact in the record, uses a word
                                                                      10                                                              ("temporary") which is not
                                                                                                                                      defined and has multiple
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11                                                              meanings, and thus attempts to
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                                                                      place the onus on Plan Agent to
                                                                      12                                                              prove a negative and further to
                                                                                                                                      guess at the meaning of an
                                                                      13                                                              undefined word in the process.

                                                                      14                                                              Plan Agent refutes this negative
                                                                                                                                      statement as follows:
                                                                      15
SulmeyerKupetz,




                                                                                                                                      (1) The Drywall itself did not
                                                                      16                                                              appear in any Plans nor the
                                                                                                                                      Image Book, and 400 SLB
                                                                      17                                                              approved of the plans and image
                                                                                                                                      book which showed an absence
                                                                      18                                                              of the Drywall, thus evidence
                                                                                                                                      exists that 400 SLB consented to
                                                                      19                                                              the Drywall being temporary and
                                                                                                                                      Ace Museum treated it as either
                                                                      20                                                              temporary, or not worthy of
                                                                                                                                      being identified in the plans for
                                                                      21                                                              the renovation project.

                                                                      22                                                              (2) The record indicates that
                                                                                                                                      Mr. Chrismas and Ace Museum
                                                                      23                                                              built numerous walls at the
                                                                                                                                      Premises. Evidence indicates
                                                                      24                                                              that Mr. Chrismas/Ace Museum
                                                                                                                                      did not take down any walls thus
                                                                      25                                                              built, other than the Drywall
                                                                                                                                      which Mr. Chrismas removed in
                                                                      26                                                              early 2011.

                                                                      27                                                              (3) The record indicates that the
                                                                                                                                      Drywall was built of materials
                                                                      28                                                              that made it not suited for the

                                                                                                                       16
                                                                     Case 2:15-ap-01679-RK      Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                 Desc
                                                                                                 Main Document    Page 18 of 60



                                                                       1                                                                  location in which it was placed,
                                                                                                                                          and its long exposure to the
                                                                       2                                                                  elements, unprotected from wind
                                                                                                                                          and rain, meant that it could not
                                                                       3                                                                  permanently remain at that
                                                                                                                                          location. In fact, it was removed
                                                                       4                                                                  after being in place for only
                                                                                                                                          approximately three years.
                                                                       5
                                                                                                                                          (4) The record indicates that Ace
                                                                       6                                                                  Museum built exhibition space
                                                                                                                                          (Exhibit D-18) which were
                                                                       7                                                                  constructed solely for use in the
                                                                                                                                          exhibition that occurred there.
                                                                       8                                                                  There is no evidence that such
                                                                                                                                          interior walls were intended to be
                                                                       9                                                                  a permanent part of the Premises.
                                                                      10                                                                         Sustained
                                                                                                                                                 Overruled
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11     46. Mr. Hernandez testified that no walls constructed        No objection.
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                 by the lessee at the La Brea Property were ever
                                                                      12         demolished or taken down (other than the Pilaster               Sustained
                                                                                 holding the Banksy, as defined and addressed                    Overruled
                                                                      13
                                                                                 below) and there is no evidence in the record of
                                                                      14         any walls, other than the Pilaster, being
                                                                                 demolished or taken down by the lessee.
                                                                      15
SulmeyerKupetz,




                                                                                           The Installation of the Pilaster
                                                                      16     47. Sometime between July 2007 and September                 No objection.
                                                                                 2008, as part of the Renovation Project, Mr.
                                                                      17         Chrismas, who at the time was the lessee of the La              Sustained
                                                                                 Brea Property under the Lease, directed the                     Overruled
                                                                      18         installation of a vertical, furred, boxed-out pilaster
                                                                      19         (the “Pilaster”) against a cinderblock wall located
                                                                                 on the first floor, northwest corner of the La Brea
                                                                      20         Property, which is identified by a red-orange
                                                                                 vertical rectangle in Exhibit D1.
                                                                      21     48. The Pilaster was precisely carved into, or “scribed      No objection.
                                                                                 “into the uneven surface of the cinderblock wall to
                                                                      22                                                                         Sustained
                                                                                 which it was attached so that there are no gaps
                                                                                 between the rough surface of the block and even                 Overruled
                                                                      23
                                                                                 edge of the Pilaster.
                                                                      24     49. Around the same time the Pilaster was installed, a       Plan Agent objects to the words
                                                                                 substantially identical pilaster (the “Opposite          "Around the same time the
                                                                      25         Pilaster”) was installed against a split face            Pilaster was installed" as
                                                                                 cinderblock wall directly opposite of the Pilaster,      unsupported by the record. Mr.
                                                                      26                                                                  Chrismas's declaration states
                                                                                 on the first floor, southwest corner of the La Brea      only: "A similar pilaster needed
                                                                      27         Property.                                                to be installed on the southern
                                                                                                                                          wall of the Service Corridor so
                                                                      28                                                                  that the look was uniform."

                                                                                                                          17
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                   Desc
                                                                                                Main Document    Page 19 of 60



                                                                       1                                                                 There is also was no evidence
                                                                                                                                         offered as to the composition or
                                                                       2                                                                 nature of that second pilaster,
                                                                                                                                         and thus there is no evidence—
                                                                       3                                                                 beyond the picture identified in
                                                                                                                                         Exhibit D-1--to support a finding
                                                                       4                                                                 that it was "substantially
                                                                                                                                         identical".
                                                                       5
                                                                                                                                                  Sustained
                                                                       6                                                                          Overruled
                                                                             50. The Pilaster and the Opposite Pilaster were             The evidence indicates that the
                                                                       7         intended by Mr. Chrismas to function as part of a       Robert Irwin light sculpture was
                                                                                 display running the entire first floor of the La Brea   a semi-freestanding structure in
                                                                       8                                                                 that it would run the length of the
                                                                                 Property visible from La Brea Avenue, and be
                                                                                                                                         side of the Property, and then be
                                                                       9         enclosed on the exterior side closest to La Brea        braced against various things.
                                                                                 Boulevard by large plate glass window running           There was no evidence/testimony
                                                                      10         parallel to La Brea Avenue, and on the interior         that the light sculpture would
                                                                                 side of the Pilaster and the Opposite Pilaster by an    instead be mounted on a wall
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11         interior wall running parallel to La Brea Avenue        running parallel with La Brea
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                 upon which a light sculpture by artist Robert Irwin     avenue, several feet inside the
                                                                      12                                                                 plate glass window running the
                                                                                 would be installed.
                                                                                                                                         same distance. Mr. Chrismas's
                                                                      13                                                                 trial declaration in ¶11 and ¶12
                                                                                                                                         refers to the Robert Irwin light
                                                                      14                                                                 sculpture, but nowhere mentions
                                                                                                                                         that the sculpture itself would be
                                                                      15
SulmeyerKupetz,




                                                                                                                                         mounted on a separately-built
                                                                                                                                         wall.
                                                                      16
                                                                                                                                         For these reasons, Plan Agent
                                                                      17                                                                 objects to the phrases "an interior
                                                                                                                                         wall running parallel to La Brea
                                                                      18                                                                 Avenue upon which" and then
                                                                                                                                         the words "would be installed" at
                                                                      19                                                                 the end of the passage.
                                                                      20                                                                         Sustained
                                                                                                                                                 Overruled
                                                                      21

                                                                      22     51. Mr. Chrismas testified that he intended that the        This statement is inaccurate
                                                                                 Pilaster, Opposite Pilaster, the plate glass window,    regarding "the wall holding the
                                                                      23         the wall holding the Robert Irwin light sculpture       Robert Irwin light sculpture" for
                                                                                 and the Robert Irwin light sculpture itself would       the reasons stated in the response
                                                                      24                                                                 to FOF #50.
                                                                                 be permanent additions to the La Brea Property.
                                                                      25         Mr. Chrismas testified that he had already              Regarding the types of things
                                                                                 acquired the light fixtures required for the Robert     that Mr. Chrismas testified he
                                                                      26         Irwin light sculpture.                                  intended to be permanent, the
                                                                                                                                         cited testimony relates only to
                                                                      27                                                                 the Robert Irwin light sculpture
                                                                                                                                         itself, and to the "pilaster and the
                                                                      28                                                                 pilaster on the southern end of

                                                                                                                         18
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                Desc
                                                                                                Main Document    Page 20 of 60



                                                                       1                                                               the property" (Day 4 Transcript,
                                                                                                                                       59:7),
                                                                       2
                                                                                                                                       Plan Agent acknowledges that
                                                                       3                                                               common sense would indicate
                                                                                                                                       that the plate glass window was
                                                                       4                                                               not intended to be temporary, but
                                                                                                                                       notes that no witness testified to
                                                                       5                                                               that issue. Probably a better
                                                                                                                                       evidentiary basis for that
                                                                       6                                                               statement is the architectural
                                                                                                                                       plans, which identify the plate
                                                                       7                                                               glass window.
                                                                       8                                                                      Sustained
                                                                                                                                              Overruled
                                                                       9
                                                                             52. According to the testimony of Mr. Hernandez, the      Plan Agent objects to the final
                                                                      10         Pilaster was attached to the La Brea Property in      sentence of this finding. No
                                                                                                                                       party testified as to how the
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR




                                                                                 the following manner: (1) metal beams supporting
  A Professional Corporation




                                                                      11                                                               Drywall was attached to the
                                                                                 the pilaster were attached by use of power driven
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                                                                       Premises, until Mr. Hernandez
                                                                      12         nails into the concrete floor and into the            gave his oral testimony at trial.
                                                                                 underlying split face cinderblock wall; and (2) the   Prior to this testimony, no one
                                                                      13         metal beams were also connected to the ceiling        provided Mr. Ottinger or this
                                                                                 soffit by bolts. The Plan Agent has not offered       Court with admissible evidence
                                                                      14         evidence to the contrary and his expert Mr.           on this issue. Plan Agent
                                                                                 Ottinger conceded that the Pilaster could have        submitted his own proposed
                                                                      15
SulmeyerKupetz,




                                                                                                                                       findings of fact based upon Mr.
                                                                                 been attached to the concrete floor using power       Hernandez's testimony which are
                                                                      16         driven nails, based on his observations of the        consistent with these statements.
                                                                                 Banksy.
                                                                      17                                                                      Sustained
                                                                                                                                              Overruled
                                                                      18
                                                                             53. Although not specifically identified in the           Plan Agent objects to this
                                                                      19         Museum Plans, the installation of the Pilaster and    statement as the term "appears to
                                                                                 Opposite Pilaster appears to be consistent with the   be consistent" is vague and
                                                                      20                                                               ambiguous.
                                                                                 overall Renovation Project reflected in the
                                                                      21         Museum Plans, the Image Book and the Model.           There is no dispute that the
                                                                                                                                       "Pilaster and Opposite Pilaster"
                                                                      22                                                               did not show up in the Museum
                                                                                                                                       Plans, Image Book, or Model
                                                                      23                                                               (Exhibits D-9, D-12, and D-13).
                                                                                                                                       The Plans show that a door
                                                                      24                                                               would open onto the cinderblock
                                                                                                                                       wall where the Drywall was
                                                                      25                                                               located, so the Plans as written
                                                                                                                                       are inconsistent with the Drywall
                                                                      26                                                               remaining in place.
                                                                      27                                                               The statements in Mr. Chrismas's
                                                                                                                                       declaration, at ¶9 and , ¶10 relate
                                                                      28                                                               solely to the Plans, Image Book,

                                                                                                                        19
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                   Desc
                                                                                                Main Document    Page 21 of 60



                                                                       1                                                                 and Model and do not mention
                                                                                                                                         the "Pilaster and Opposite
                                                                       2                                                                 Pilaster".
                                                                       3                                                                 Plan Agent has no objection to
                                                                                                                                         the pictures admitted at trial that
                                                                       4                                                                 show the location of the Drywall.
                                                                                                                                         Plan Agent acknowledges that
                                                                       5                                                                 those pictures can form an
                                                                                                                                         evidentiary basis as to the
                                                                       6                                                                 appearance of the Premises.
                                                                       7                                                                         Sustained
                                                                                                                                                 Overruled
                                                                       8
                                                                             54. The Plan Agent has failed to present evidence           Plan Agent objects to the entirety
                                                                       9         sufficient to demonstrate whether Mr. Chrismas          of this statement. Testimony at
                                                                                 received the consent of 400 SLB to install the          trial from Mr. Chrismas and Mr.
                                                                      10                                                                 Dayan was that neither could
                                                                                 Pilaster for the following reasons: (1) there is no
                                                                                                                                         recall either receiving, or giving
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR




                                                                                 document admitted into evidence evidencing 400
  A Professional Corporation




                                                                      11                                                                 consent to build the Drywall.
                              LOS ANGELES, CALIFORNIA 90071-1406




                                                                                 SLB’s consent to build the Pilaster; (2) neither Mr.
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                                                                         Likewise, neither witness could
                                                                      12         Chrismas nor Mr. Dayan could recall whether             definitively state that consent
                                                                                 consent was given to build the Pilaster; (3) “hand      was not requested/not given.
                                                                      13         marked” or “redlined” referenced in the Lease
                                                                                 Addendum and the July 20, 2006 Letter have not          Circumstantial evidence of
                                                                      14                                                                 consent to build the Drywall
                                                                                 been submitted into evidence; (4) the Pilaster does     exists:
                                                                      15         appear to be consistent with the general
SulmeyerKupetz,




                                                                                 description of work contained in the July 20, 2006      (1) 400 SLB never objected to
                                                                      16         Letter and the Building Permit; (5) portions of the     the existence of the Drywall,
                                                                                 La Brea Property where the Pilaster would be            despite Mr. Dayan stating in his
                                                                      17         incorporated can be seen in the Model and Image         trial declaration that he saw it in
                                                                                 Book; (6) the Pilaster is not specifically identified   2009, and Fortuna Management
                                                                      18                                                                 being familiar with the Property
                                                                                 in the Museum Plans, although the glass wall and        and thus, being aware of the
                                                                      19         interior wall on which the Robert Irwin light           Drywall;
                                                                                 sculpture, which the record reflects would be
                                                                      20         supported by the Pilaster are identifiable in the       (2) the Lease, Addendum, and
                                                                                 Museum Plans.                                           Exhibit "B" to the Addendum
                                                                      21                                                                 discuss at length all of the
                                                                                                                                         activities Mr. Chrismas intended
                                                                      22                                                                 to perform on the Property, many
                                                                                                                                         of which he did perform, the
                                                                      23                                                                 Drywall falls within the scope of
                                                                                                                                         the work Mr. Chrismas stated he
                                                                      24                                                                 would perform, and Mr. Dayan
                                                                                                                                         stated at trial that he agreed with
                                                                      25                                                                 all of the statements contained in
                                                                                                                                         the Lease and Addendum;
                                                                      26
                                                                                                                                         (3) the First Amendment to the
                                                                      27                                                                 Lease specifically states, in
                                                                                                                                         paragraph 3, that 400 SLB
                                                                      28                                                                 consents to the Alterations Mr.

                                                                                                                         20
                                                                     Case 2:15-ap-01679-RK    Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40               Desc
                                                                                               Main Document    Page 22 of 60



                                                                       1                                                               Chrismas has made to the
                                                                                                                                       Property, and evidence indicates
                                                                       2                                                               that the Drywall was installed
                                                                                                                                       prior to this date;
                                                                       3
                                                                                                                                       (4) 400 SLB states in this
                                                                       4                                                               Finding of Fact that the Drywall
                                                                                                                                       was "consistent with the general
                                                                       5                                                               description of work contained in
                                                                                                                                       the July 20, 2006 Letter and the
                                                                       6                                                               Building Permit"; and
                                                                       7                                                               (5) Mr. Dayan testified that he
                                                                                                                                       did not see the Model until 2017,
                                                                       8                                                               so the Model is not relevant to a
                                                                                                                                       discussion of consent versus non-
                                                                       9                                                               consent.
                                                                      10                                                                      Sustained
                                                                                                                                              Overruled
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                      12     55. In early 2010, Mr. Chrismas learned from Pest         No objection.
                                                                                 Control, the organization of the anonymous street
                                                                      13         artist “Banksy”, that Banksy and representatives of          Sustained
                                                                                 Pest Control would be in the Los Angeles area in             Overruled
                                                                      14
                                                                                 April 2010 for the Los Angeles premier of
                                                                      15         Banksy's documentary "Exit Through the Gift
SulmeyerKupetz,




                                                                                 Shop".
                                                                      16     56. Prior to Banksy' s planned arrival in the Los         No objection.
                                                                                 Angeles area in April 2010, Mr. Chrismas had
                                                                      17         been working with Pest Control regarding Banksy              Sustained
                                                                                 possibly holding an exhibition at the La Brea                Overruled
                                                                      18
                                                                                 Property.
                                                                      19     57. On or about April 9, 2010, Mr. Chrismas had a key     No objection.
                                                                                 delivered to Pest Control staff so the anonymous
                                                                      20         artist could discretely access the premises in the           Sustained
                                                                                 evening to assess whether to hold an exhibition at           Overruled
                                                                      21
                                                                                 the La Brea Property.
                                                                      22     58. On or about April 10, 2010, Mr. Chrismas went to      No objection.
                                                                                 lunch with representatives from Pest Control
                                                                      23         during which they discussed the upcoming movie               Sustained
                                                                                 premier and a potential Banksy exhibition at the             Overruled
                                                                      24         La Brea Property. At no point during lunch did
                                                                      25         they discuss Banksy spray painting an artwork
                                                                                 directly on the La Brea Property.
                                                                      26     59. Upon Mr. Chrismas’s return from lunch on or           No objection.
                                                                                 about April 10, 2010, he discovered that,
                                                                      27         unbeknownst to him, what appeared to be an                   Sustained
                                                                                 artwork created by the anonymous artist Banksy               Overruled
                                                                      28         had been spray painted on the Pilaster.

                                                                                                                       21
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                Desc
                                                                                                Main Document    Page 23 of 60



                                                                       1     60. Pictures of the Banksy artwork (the “Banksy”)      No objection.
                                                                                 spray painted on the Pilaster as of April 11, 2010
                                                                       2         are reflected in the online article admitted into         Sustained
                                                                                 evidence as Exhibit D2.                                   Overruled
                                                                       3
                                                                             61. The appearance of the Banksy created much public No objection.
                                                                       4         interest and Mr. Chrismas became concerned that
                                                                                 the Banksy may be stolen, damaged or destroyed.           Sustained
                                                                       5         Therefore, Mr. Chrismas hired a 24-hour guard to          Overruled
                                                                                 protect the artwork.
                                                                       6                     The Removal of the Banksy
                                                                       7     62. Mr. Chrismas testified that it was expensive and        Plan Agent objects to the portion
                                                                                 not feasible for a 24-hour guard to protect the         of this statement that states
                                                                       8         artwork on a long term basis. In order to protect       "protect the Banksy". 400 SLB
                                                                                 the Banksy, on or about April 14, 2010 Mr.              admits that it was expensive to
                                                                       9                                                                 maintain a 24-hour guard, and
                                                                                 Chrismas instructed his staff to cut out that portion   that a security guard was offered
                                                                      10         of the Pilaster on which the Banksy was painted.        money to allow him to be tied up
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR




                                                                                                                                         so the Banksy could be stolen.
  A Professional Corporation




                                                                      11                                                                 There is thus evidence of a
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                                                                         number of reasons that Ace
                                                                      12                                                                 Museum removed the Banksy
                                                                                                                                         from the Drywall. Summarizing
                                                                      13                                                                 those reasons as to "protect the
                                                                                                                                         Banksy" is too narrow.
                                                                      14
                                                                                                                                                Sustained
                                                                      15
SulmeyerKupetz,




                                                                                                                                                Overruled
                                                                      16     63. A video posted to YouTube on April 18, 2010,            Plan Agent objects to the
                                                                                 which has been admitted into evidence as Exhibit        inclusion of the phrase "in a
                                                                      17                                                                 destructive manner" as that
                                                                                 D27, shows the process of the Banksy’s removal
                                                                                 in a destructive manner, which involved the use of      phrase is ambiguous. As shown
                                                                      18                                                                 in the video, the Banksy was
                                                                                 a reciprocal saw and other tools to cut through the     removed from the Drywall very
                                                                      19         drywall and underlying metal beams of the Pilaster      carefully and as 400 SLB urges
                                                                                 so that the portion of the Pilaster on which the        the Court to find in FOF #62,
                                                                      20         Banksy was painted could be extracted from the          Mr. Chrismas sought to protect
                                                                                 Pilaster.                                               the Banksy. To the extent there
                                                                      21                                                                 was a type of "manner" in which
                                                                                                                                         the Banksy was removed, it was
                                                                      22                                                                 a "careful" or "protective"
                                                                                                                                         manner.
                                                                      23
                                                                                                                                                Sustained
                                                                      24                                                                        Overruled
                                                                      25

                                                                      26
                                                                             64. Following removal of the Banksy, pictures of the        No objection.
                                                                      27         LA Brea Property admitted into evidence show
                                                                                 that portions of the Pilaster above and on the sides           Sustained
                                                                      28                                                                        Overruled
                                                                                 of where the Banksy was cut out did not collapse

                                                                                                                         22
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40               Desc
                                                                                                Main Document    Page 24 of 60



                                                                       1         or fall due to the Banksy’s removal and remained
                                                                                 affixed to the La Brea Property.
                                                                       2     65. Following removal of the Banksy, it was moved         Mr. Chrismas' declaration in
                                                                                 into a storage facility of the Debtor (the “Storage   paragraph 20 does not identify
                                                                       3                                                               whose storage facility the
                                                                                 Facility”).
                                                                                                                                       Banksy was moved to. The
                                                                       4                                                               phrase, "of the Debtor," is not
                                                                                                                                       substantiated and it appears that
                                                                       5                                                               the Banksy was moved to the
                                                                                                                                       Cochran Location which was not
                                                                       6                                                               owned by the Debtor, but by Ace
                                                                                                                                       Gallery New York. See Joint
                                                                       7                                                               Statement, 8:19. For this reason,
                                                                                                                                       Plan Agent objects to the phrase
                                                                       8                                                               "of the Debtor" being included in
                                                                                                                                       this statement.
                                                                       9
                                                                      10
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR




                                                                                                                                              Sustained
  A Professional Corporation




                                                                      11                                                                      Overruled
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                      12     66. Neither Mr. Chrismas, nor any other representative    Plan Agent objects to the entirety
                                                                                 of Ace Museum informed Mr. Dayan or any other         of this statement, as not
                                                                      13                                                               supported by the evidentiary
                                                                                 representative of 400 SLB of the appearance
                                                                                 Banksy, the extraction and removal of the Banksy      record.
                                                                      14
                                                                                 from the La Brea Property and/or the moving of        Mr. Chrismas's declaration at
                                                                      15
SulmeyerKupetz,




                                                                                 the Banksy to the Storage Facility.                   paragraph 22 states that he
                                                                                                                                       personally did not so inform 400
                                                                      16                                                               SLB. His declaration does not
                                                                                                                                       extend to "any other
                                                                      17                                                               representative of Ace Museum."
                                                                      18                                                               Mr. Dayan's declaration at
                                                                                                                                       paragraph 16 states only that at
                                                                      19                                                               no point was Mr. Dayan aware
                                                                                                                                       that Mr. Chrismas had "cut out a
                                                                      20                                                               portion of the wall on which a
                                                                                                                                       painting appeared."
                                                                      21
                                                                                                                                       There is no testimony at trial
                                                                      22                                                               indicating that no other
                                                                                                                                       representative of Ace Museum
                                                                      23                                                               informed any representative of
                                                                                                                                       400 SLB of the existence or
                                                                      24                                                               removal of the Banksy. Further,
                                                                                                                                       the evidence is that 400 SLB did
                                                                      25                                                               know about it, as Mr. Chrismas's
                                                                                                                                       testimony at trial was that:
                                                                      26
                                                                                                                                       "It was generally known, by
                                                                      27                                                               everyone that was associated or
                                                                                                                                       close to the art world and the
                                                                      28                                                               museum, the Premises, and what

                                                                                                                         23
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                 Desc
                                                                                                Main Document    Page 25 of 60



                                                                       1                                                               Ace Museum was doing at the
                                                                                                                                       Premises, that the Banksy
                                                                       2                                                               existed."
                                                                       3                                                               Day 4 Transcript, 34:3.
                                                                       4                                                               Evidence at trial also indicates
                                                                                                                                       that it was well known that the
                                                                       5                                                               Drywall had a portion removed
                                                                                                                                       from it, as the Drywall remained
                                                                       6                                                               in its cut condition from April
                                                                                                                                       2010 to early 2011, the Drywall
                                                                       7                                                               was openly viewable from La
                                                                                                                                       Brea Avenue, and Fortuna
                                                                       8                                                               Management, which was 400
                                                                                                                                       SLB's representative at the
                                                                       9                                                               Premises, was on the Premises
                                                                                                                                       regularly.
                                                                      10
                                                                                                                                              Sustained
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11                                                                      Overruled
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                      12
                                                                             67. The Plan Agent has failed to present sufficient       Plan Agent objects to this
                                                                      13         evidence demonstrating that 400 SLB ever knew         statement in its entirety.
                                                                                 about the Banksy prior to the Plan Agent’s filing
                                                                      14                                                               Mr. Chrismas's testimony at trial
                                                                                 of the Application. Mr. Dayan has testified that he
                                                                                                                                       was that:
                                                                      15         never knew about the Banksy and the emails the
SulmeyerKupetz,




                                                                                 Plan Agent has submitted into evidence in this        "It was generally known, by
                                                                      16         regard (Exhibits P32-P34) reflect only that Mr.       everyone that was associated or
                                                                                 Dayan was confused and did not show a clear           close to the art world and the
                                                                      17         understanding that the Banksy had appeared at the     museum, the Premises, and what
                                                                                 La Brea Property                                      Ace Museum was doing at the
                                                                      18                                                               Premises, that the Banksy
                                                                                                                                       existed."
                                                                      19
                                                                                                                                       Day 4 Transcript, 34:3.
                                                                      20
                                                                                                                                       Evidence at trial also indicates
                                                                      21                                                               that it was well known that the
                                                                                                                                       Drywall had a portion removed
                                                                      22                                                               from it, as the Drywall remained
                                                                                                                                       in its cut condition from April
                                                                      23                                                               2010 to early 2011, the Drywall
                                                                                                                                       was openly viewable from La
                                                                      24                                                               Brea Avenue, and Fortuna
                                                                                                                                       Management, which was 400
                                                                      25                                                               SLB's representative at the
                                                                                                                                       Premises, was on the Premises
                                                                      26                                                               regularly.
                                                                      27                                                               Additionally, on August 4, 2010,
                                                                                                                                       Mr. Dayan received an email
                                                                      28                                                               from Angela Hui from Cathay

                                                                                                                        24
                                                                     Case 2:15-ap-01679-RK    Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                Desc
                                                                                               Main Document    Page 26 of 60



                                                                       1                                                             bank, in which she recommended
                                                                                                                                     Mr. Dayan check out a link that
                                                                       2                                                             "talks about your property at 400
                                                                                                                                     S. La Brea." Mr. Dayan briefly
                                                                       3                                                             reviewed the linked article,
                                                                                                                                     which mentioned that the Banksy
                                                                       4                                                             appeared at the Premises.
                                                                                                                                     Exhibit D-16.
                                                                       5
                                                                                                                                     Further, on December 13, 2011,
                                                                       6                                                             Mr. Dayan received an email
                                                                                                                                     from Mike Smith—a principal of
                                                                       7                                                             400 SLB--in which Mr. Smith
                                                                                                                                     forwarded an article regarding a
                                                                       8                                                             large Vladimir Lenin head that
                                                                                                                                     appeared at the Premises, that
                                                                       9                                                             also stated that a Banksy
                                                                                                                                     appeared and was removed from
                                                                      10                                                             the Premises. Mr. Dayan read
                                                                                                                                     that email as well. Exhibit P-33.
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                                                                             Sustained
                                                                      12                                                                     Overruled
                                                                      13
                                                                             68. The record reflects that no consent was obtained    Mr. Chrismas's declaration at
                                                                      14         from 400 SLB to remove either the Pilaster or the   paragraph 22 does not address
                                                                                 Banksy.                                             this issue at all. Instead, it states
                                                                      15
SulmeyerKupetz,




                                                                                                                                     that Mr. Chrismas did not inform
                                                                                                                                     400 SLB the Banksy had been
                                                                      16                                                             removed. Likewise, Mr. Dayan's
                                                                                                                                     declaration at paragraph 16 does
                                                                      17                                                             not support this statement.
                                                                                                                                     Instead, it states that "At no point
                                                                      18                                                             in time was I aware that Mr.
                                                                                                                                     Chrismas removed anything of
                                                                      19                                                             value…"
                                                                      20                                                             Evidence exists that Ace
                                                                                                                                     Museum had consent to remove
                                                                      21                                                             the Banksy:
                                                                      22                                                             (1) Paragraph 6.2(c) of the Lease
                                                                                                                                     permitted Ace Museum to
                                                                      23                                                             remove the Banksy from as a
                                                                                                                                     Hazardous Substance.
                                                                      24
                                                                                                                                     (2) Paragraph 7.1(a) of the Lease
                                                                      25                                                             permitted Ace Museum to
                                                                                                                                     remove the Banksy because it
                                                                      26                                                             was graffiti.
                                                                      27                                                             (3) 400 SLB consented to
                                                                                                                                     removal of the Drywall by
                                                                      28                                                             consenting to the Plans, which

                                                                                                                       25
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40               Desc
                                                                                                Main Document    Page 27 of 60



                                                                       1                                                               showed the Drywall as not
                                                                                                                                       existing at the Premises.
                                                                       2
                                                                                                                                       (4) 400 SLB consented to
                                                                       3                                                               removal of the Drywall by
                                                                                                                                       stating in the Addendum that it
                                                                       4                                                               consented to removal of interior,
                                                                                                                                       non-structural walls to the extent
                                                                       5                                                               that removal is consistent with
                                                                                                                                       plans submitted to 400 SLB.
                                                                       6
                                                                                                                                       (5) 400 SLB consented to
                                                                       7                                                               removal of the Drywall by not
                                                                                                                                       objecting to its removal at any
                                                                       8                                                               time after April 14, 2010.
                                                                       9                                                                      Sustained
                                                                                                                                              Overruled
                                                                      10
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11     69. Sometime after the removal of the Banksy from         Plan Agent objects to the phrase
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                 the La Brea Property, Mr. Chrismas had a “Press       "the reason the Banksy was
                                                                      12         Release” prepared, on which he made handwritten       removed was to protect it" as an
                                                                                 notations. Among other things, the Press Release      inaccurate summary of the words
                                                                      13                                                               contained in Exhibit P-9 relating
                                                                                 indicated that: (1) the Banksy would be reinstalled   to that issue which includes:
                                                                      14         in the exact place from whence it was removed;
                                                                                 and (2) the reason the Banksy was removed was to      "It became apparent that we
                                                                      15
SulmeyerKupetz,




                                                                                 protect it.                                           would need a security guard to
                                                                                                                                       guard the security guard who was
                                                                      16                                                               hired to protect Banksy's security
                                                                                                                                       Guard on Duty,"
                                                                      17
                                                                                                                                       and
                                                                      18
                                                                                                                                       "The security of the empty lot
                                                                      19                                                               was a major concern – for theft,
                                                                                                                                       vandalism or other. Ace
                                                                      20                                                               Museum decided that it should
                                                                                                                                       not repair the wall where it had
                                                                      21                                                               been cut out but leave it for the
                                                                                                                                       return of Banksy's security guard
                                                                      22                                                               under adequate protection."
                                                                      23                                                               Thus, it is more accurate to say
                                                                                                                                       that "one reason" the Banksy was
                                                                      24                                                               removed was to protect it.
                                                                      25                                                                      Sustained
                                                                                                                                              Overruled
                                                                      26

                                                                      27     70. In the Press Release, there is no claim that Ace      Plan Agent objects as this is a
                                                                                 Museum owned the Banksy.                              misstatement of the Press
                                                                      28                                                               Release, which contains both text

                                                                                                                        26
                                                                     Case 2:15-ap-01679-RK    Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                 Desc
                                                                                               Main Document    Page 28 of 60



                                                                       1                                                              and handwritten markings. The
                                                                                                                                      Press Release, in text, states that
                                                                       2                                                              the Banksy "is now technically
                                                                                                                                      owned by Ace Museum" Its
                                                                       3                                                              handwritten notes from Mr.
                                                                                                                                      Chrismas indicate he considered
                                                                       4                                                              stating "under the watch of" or
                                                                                                                                      "under the care of" Ace Museum.
                                                                       5
                                                                                                                                              Sustained
                                                                       6                                                                      Overruled
                                                                       7
                                                                             71. The Press Release contained the following: “[the]    Plan Agent has no objection to
                                                                       8         Banksy, is now technically owned by Ace              any but the final sentence, which
                                                                                 Museum” In place of “technically owned” there is     is an imprecise summary of the
                                                                       9                                                              statement contained in the Press
                                                                                 a handwritten note by Mr. Chrismas with the
                                                                                                                                      Release. That sentence in the
                                                                      10         phrase “under the care of” with “care” replaced by   Press Release states: "Since it
                                                                                 “watch”, which was also deleted and as to which      was created on Ace Museum's
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11         no further notation was made. The Press Release      property, it became the
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                 also stated that it was Ace Museum’s                 responsibility of the museum to
                                                                      12         responsibility to “protect, care and preserve the    protect, care and preserve the
                                                                                 work.”                                               artwork."
                                                                      13
                                                                                                                                             Sustained
                                                                      14                                                                     Overruled
                                                                             72. There is no evidence in the record indicating        No objection.
                                                                      15
SulmeyerKupetz,




                                                                                 whether or not the Press Release was disseminated
                                                                                 to the public, and Mr. Chrismas testified that he            Sustained
                                                                      16                                                                      Overruled
                                                                                 did not know whether it was disseminated to the
                                                                      17         public.
                                                                             73. There is no evidence in the record that Mr.          Plan Agent objects to this
                                                                      18         Chrismas or Ace Museum claimed any ownership         statement in its entirety, for the
                                                                                 over the Banksy. Rather the evidence indicates       following reasons:
                                                                      19         only that Mr. Chrismas intended to protect the
                                                                                                                                      (1) The phrase "claimed any
                                                                      20         Banksy through removal and safekeeping.              ownership over the Banksy" is
                                                                                                                                      vague and ambiguous, and can
                                                                      21                                                              be narrowly read to relate to Mr.
                                                                                                                                      Chrismas's written or oral
                                                                      22                                                              communications, or broadly read
                                                                                                                                      to mean actions.
                                                                      23
                                                                                                                                      (2) The evidence indicates that
                                                                      24                                                              Ace Museum removed the
                                                                                                                                      Banksy and placed it in storage
                                                                      25                                                              controlled by Mr. Chrismas.
                                                                                                                                      That indicates a claim of
                                                                      26                                                              ownership by Mr. Chrismas.

                                                                      27                                                              (3) The evidence indicates that
                                                                                                                                      Mr. Chrismas did not return the
                                                                      28                                                              Banksy to 400 SLB upon Ace

                                                                                                                       27
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                  Desc
                                                                                                Main Document    Page 29 of 60



                                                                       1                                                                 Museum vacating the Premises.
                                                                                                                                         That indicates ownership of the
                                                                       2                                                                 Banksy.
                                                                       3                                                                 (4) The Press Release states that
                                                                                                                                         the Banksy is "technically
                                                                       4                                                                 owned" by Ace Museum and that
                                                                                                                                         the Banksy was "created on Ace
                                                                       5                                                                 Museum's property".
                                                                       6                                                                 (5) Mr. Chrismas stated at trial
                                                                                                                                         that the Banksy was painted on
                                                                       7                                                                 Ace Museum's property. Day 4
                                                                                                                                         Transcript, 73:9-74:6.
                                                                       8
                                                                                                                                         (6) The Lease itself states that
                                                                       9                                                                 Trade Fixtures, Lessee-Owned
                                                                                                                                         Utility Installations, and Lessee-
                                                                      10                                                                 Owned Alterations, are property
                                                                                                                                         of the tenant,
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                                                                         (7) Mr. Chrismas testified at trial
                                                                      12                                                                 that after removing the Banksy,
                                                                                                                                         he had no belief that the Banksy
                                                                      13                                                                 belonged to 400 SLB. Day 4
                                                                                                                                         Transcript, 30:8.
                                                                      14
                                                                                                                                         (8) Mr. Chrismas testified at trial
                                                                      15
SulmeyerKupetz,




                                                                                                                                         that he believed the appearance
                                                                                                                                         of the Banksy was wonderful for
                                                                      16                                                                 him. Day 4 Transcript, 68:6
                                                                      17                                                                        Sustained
                                                                                                                                                Overruled
                                                                      18

                                                                      19     74. As to the removal of the Banksy, Mr. Chrismas           No objection.
                                                                                 further testified that the “Banksy was put in a safe
                                                                      20         zone, so that it could be replaced where it was         Note: There is a missing "to"
                                                                                 removed the moment the window was put in and            between the words "replaced"
                                                                      21                                                                 and "where."
                                                                                 the building was secure”.
                                                                      22                                                                          Sustained
                                                                                                                                                  Overruled
                                                                      23     75. Graffiti was a regular occurrence at the La Brea        Plan Agent objects to the entirety
                                                                                 Property and, in each instance, it was cleaned from     of this statement. The Banksy
                                                                      24         the surface of the property or painted over. Graffiti   was graffiti, and it was removed
                                                                                 was never removed through the removal,                  from the Premises. Thus, it is
                                                                      25                                                                 incorrect to say that graffiti was
                                                                                 destruction or the cutting away of the                  never removed from the
                                                                      26         improvements of the La Brea Property and                Premises.
                                                                                 replacing them.
                                                                      27                                                                 Further, this statement
                                                                                                                                         mischaracterizes the cited
                                                                      28                                                                 testimony of the witnesses.

                                                                                                                         28
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                 Desc
                                                                                                Main Document    Page 30 of 60



                                                                       1
                                                                                                                                        It is correct that Mr. Hernandez
                                                                       2                                                                stated at trial he did not cut away
                                                                                                                                        structures or parts of walls,
                                                                       3                                                                however Mr. Hernandez did not
                                                                                                                                        begin working at the Premises
                                                                       4                                                                until 2011. He also stated that he
                                                                                                                                        would "scrub it off the wall
                                                                       5                                                                somehow". Day 2 Transcript,
                                                                                                                                        78:4.
                                                                       6
                                                                                                                                        Mr. Dayan testified only that he
                                                                       7                                                                recalled seeing graffiti at the
                                                                                                                                        Premises, and that when he did
                                                                       8                                                                see graffiti, he contacted Fortuna
                                                                                                                                        Management to take care of it.
                                                                       9
                                                                                                                                        Mr. Chrismas testified that the
                                                                      10                                                                tenant would clean graffiti "every
                                                                                                                                        single day" and that every
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11                                                                landlord in the area "had to go
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                                                                        and remove graffiti".
                                                                      12
                                                                                                                                        Thus, the only witness as to the
                                                                      13                                                                issue stated is Mr. Hernandez,
                                                                                                                                        who stated that he did not cut
                                                                      14                                                                away structures or parts of walls,
                                                                                                                                        to remove graffiti.
                                                                      15
SulmeyerKupetz,




                                                                                                                                               Sustained
                                                                      16                                                                       Overruled
                                                                      17     76. The Banksy was never treated by Mr. Chrismas,          This statement is not supported
                                                                                 Ace Museum, or any employee of Mr. Chrismas or         by any statement of Mr.
                                                                      18         Ace Museum in the same way as the graffiti which       Chrismas, including paragraph
                                                                                 regularly appeared at the La Brea Property, in that    20 of his trial declaration which
                                                                      19                                                                is the only citation to the
                                                                                 it was never cleaned up or painted over. Instead, it   evidentiary record in support.
                                                                      20         was removed and moved into the Storage Facility
                                                                                 at the direction of Mr. Chrismas.                      As stated above more fully in
                                                                      21                                                                response to FOF #75,, Mr.
                                                                                                                                        Hernandez is the only witness to
                                                                      22                                                                testify as to how graffiti was
                                                                                                                                        removed at the Premises.
                                                                      23
                                                                                                                                        Plan Agent objects to the entirety
                                                                      24                                                                of this finding.
                                                                      25                                                                       Sustained
                                                                                                                                               Overruled
                                                                      26

                                                                      27     77. Mr. Chrismas testified that he never considered the Plan Agent objects to the
                                                                                 Banksy to be defacing graffiti, but considered the  inclusion of the phrase "never
                                                                      28         Banksy to be a “wonderful artwork”.                 considered the Banksy to be

                                                                                                                        29
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                 Desc
                                                                                                Main Document    Page 31 of 60



                                                                       1                                                                defacing artwork, but"
                                                                       2                                                                The evidence indicates that Mr.
                                                                                                                                        Chrismas wrote the Press
                                                                       3                                                                Release which is Exhibit P-9. In
                                                                                                                                        the Press Release, Mr. Chrismas
                                                                       4                                                                uses the word "graffiti"
                                                                                                                                        numerous times in his discussion
                                                                       5                                                                of the Banksy.
                                                                       6                                                                Moreover, in his testimony at
                                                                                                                                        trial, Mr. Chrismas described the
                                                                       7                                                                Banksy as graffiti, but
                                                                                                                                        "wonderful artwork", by stating:
                                                                       8
                                                                                                                                        "Graffiti that you usually see on
                                                                       9                                                                the street, 95-percent of it is
                                                                                                                                        usually very low-level art, or
                                                                      10                                                                attempts at art, if not 98-
                                                                                                                                        percent." Day 4 Transcript,
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11                                                                72:5-7
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                      12                                                                       Sustained
                                                                                                                                               Overruled
                                                                      13
                                                                             78. Mr. Chrismas testified that he never attempted to,     No objection.
                                                                      14         nor did he ever intend to sell the Banksy.
                                                                                                                                               Sustained
                                                                      15
SulmeyerKupetz,




                                                                                                                                               Overruled
                                                                             79. Sometime between February 2011 and July 2011,          No objection.
                                                                      16         Mr. Chrismas directed Mr. Hernandez to repair the
                                                                                 Pilaster, which had a large hole in it where the              Sustained
                                                                      17                                                                       Overruled
                                                                                 Banksy had been cut out.
                                                                      18     80. Mr. Hernandez decided, based on his observations       Plan Agent objects to the
                                                                                 of the remaining portions of the Pilaster, that he     restatement of paragraph 9 of
                                                                      19         could not repair the Pilaster, but needed to rebuild   Mr. Hernandez's statement in his
                                                                                 it, as all the underlying metal support beams of the   trial declaration, to which Plan
                                                                      20                                                                Agent does not object other than
                                                                                 Pilaster had been cut out and thus the Pilaster was    to the phrase "all the underlying
                                                                      21         too damaged to repair.                                 metal support beams".

                                                                      22                                                                While Mr. Hernandez did state in
                                                                                                                                        his trial declaration that "all
                                                                      23                                                                metal support beams were cut
                                                                                                                                        out", at trial Mr. Hernandez
                                                                      24                                                                stated that studs remained that
                                                                                                                                        ran along the cinderblock wall.
                                                                      25                                                                Day 4 Transcript, 119:2.

                                                                      26                                                                Regarding the balance of this
                                                                                                                                        finding, Plan Agent notes that
                                                                      27                                                                this is a summary of Mr.
                                                                                                                                        Hernandez's trial declaration that
                                                                      28                                                                is almost wholly unnecessary,
                                                                                                                                        given the brevity and clarity of

                                                                                                                        30
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                Desc
                                                                                                Main Document    Page 32 of 60



                                                                       1                                                                Mr. Hernandez's trial declaration
                                                                                                                                        in which he states, almost word
                                                                       2                                                                for word, the findings here. Yet
                                                                                                                                        400 SLB has changed certain
                                                                       3                                                                words in a way that makes it not
                                                                                                                                        precisely accurate.
                                                                       4
                                                                                                                                        For instance, the statement "he
                                                                       5                                                                could not repair the Pilaster" is
                                                                                                                                        not technically correct, as Mr.
                                                                       6                                                                Hernandez instead states in his
                                                                                                                                        trial declaration that "I did not
                                                                       7                                                                believe it could be repaired."
                                                                                                                                        Additionally, the statement that
                                                                       8                                                                Mr. Hernandez "needed to rebuilt
                                                                                                                                        it" is also not precisely correct,
                                                                       9                                                                as Mr. Hernandez stated in his
                                                                                                                                        trial declaration that he believed
                                                                      10                                                                it could not be repaired at all,
                                                                                                                                        without being rebuilt.
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                                                                        Plan Agent acknowledges that
                                                                      12                                                                these slight changes probably do
                                                                                                                                        no harm to the evidentiary
                                                                      13                                                                record, but their lack of
                                                                                                                                        importance serves to underscore
                                                                      14                                                                that it is probably better to
                                                                                                                                        simply use Mr. Hernandez's own
                                                                      15
SulmeyerKupetz,




                                                                                                                                        words on the issue.
                                                                      16
                                                                                                                                               Sustained
                                                                      17                                                                       Overruled
                                                                      18
                                                                             81. Mr. Hernandez removed the entire remaining             No objection.
                                                                      19         Pilaster from floor to ceiling, including all
                                                                                 remaining metal beams, and constructed a new                  Sustained
                                                                      20                                                                       Overruled
                                                                                 pilaster (the “Replacement Pilaster”) in the same
                                                                      21         manner as the Pilaster, including that (1) metal
                                                                                 beams supporting the pilaster were attached by use
                                                                      22         of power driven nails into the concrete floor and
                                                                                 into the underlying split face cinderblock wall; (2)
                                                                      23         the 17 ft. tall metal beams were connected to the
                                                                                 ceiling soffit by bolts; and (3) every three feet
                                                                      24
                                                                                 lateral steel beams were installed to support the
                                                                      25         Replacement Pilaster.
                                                                             82. Mr. Hernandez testified that he attached the           No objection.
                                                                      26         Replacement Pilaster to the La Brea Property in a
                                                                                 similar manner as the Pilaster, but that he used              Sustained
                                                                      27         stronger gauge steel beams.                                   Overruled

                                                                      28     83. According to the record, the Banksy was never          No objection.
                                                                                 attached to Replacement Pilaster and was not

                                                                                                                        31
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40             Desc
                                                                                                Main Document    Page 33 of 60



                                                                       1          otherwise reinstalled at the La Bea Property.           Sustained
                                                                                                                                          Overruled
                                                                       2     84. While the Replacement Pilaster may have          Plan Agent objects to this
                                                                                 remedied the physical damage from the removal of statement in its entirety. There is
                                                                       3         the Pilaster, the Replacement Pilaster did not   no evidence of material damage
                                                                                 include the Banksy.                              to the Premises from Mr.
                                                                       4                                                          Chrismas (1) constructing the
                                                                                                                                  Drywall, (2) removing the
                                                                       5                                                          Banksy, or (3) removing the
                                                                                                                                  remainder of the Drywall in early
                                                                       6                                                          2011. There is also no evidence
                                                                                                                                  that rebuilding a new pilaster
                                                                       7                                                          "remedied the physical damage."
                                                                       8                                                                    Sustained
                                                                                                                                            Overruled
                                                                       9
                                                                             85. The Pilaster and the Replacement Pilaster           Plan Agent objects to the words
                                                                      10         remained as part of the La Brea Property until      "Pilaster And the" in this
                                                                                                                                     statement. As reflected in FOF
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR




                                                                                 approximately 2021.
  A Professional Corporation




                                                                      11                                                             #81, Mr. Hernandez "removed
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                                                                     the entire remaining Pilaster"
                                                                      12                                                             some time in 2011, thus the
                                                                                                                                     "Pilaster" could not remain on
                                                                      13                                                             the property until 2021.
                                                                      14                                                                    Sustained
                                                                                                                                            Overruled
                                                                      15
SulmeyerKupetz,




                                                                                      The Plan Agent's Custody of the Banksy
                                                                      16
                                                                             86. Upon the Plan Agent’s appointment in April 2016,    No objection.
                                                                      17         he took control of the Storage Facility and thus
                                                                                 took possession of the Banksy stored therein.              Sustained
                                                                      18         Thereafter, the Plan Agent moved the Banksy to a           Overruled
                                                                                 storage location secured by him.
                                                                      19
                                                                             87. While in possession of the Banksy, the Plan Agent   No objection.
                                                                      20         attempted to authenticate the Banksy artwork.
                                                                                                                                            Sustained
                                                                      21                                                                    Overruled
                                                                             88. While in possession of the Banksy, the Plan Agent   No objection.
                                                                      22         also attempted to value the Banksy with an
                                                                                 appraiser.                                                 Sustained
                                                                      23                                                                    Overruled
                                                                             89. Although never obtaining an appraisal of the        Plan Agent objects as this is a
                                                                      24         Banksy, Mr. Leslie testified that he believed the   mischaracterization of Plan
                                                                                 Banksy is worth somewhere between $10,000 to        Agent's testimony.
                                                                      25         $250,000.
                                                                                                                                     Plan Agent testified that he spoke
                                                                      26                                                             with an auction house and (in
                                                                                                                                     response to a question as to
                                                                      27                                                             whether he received an
                                                                                                                                     indication of the value of the
                                                                      28                                                             Banksy) stated " … I believe the
                                                                                                                                     range was, you know, from

                                                                                                                         32
                                                                     Case 2:15-ap-01679-RK       Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                Desc
                                                                                                  Main Document    Page 34 of 60



                                                                       1                                                                 $10,000 to $250,000."
                                                                       2                                                                         Sustained
                                                                                                                                                 Overruled
                                                                       3
                                                                              90. While in possession of the Banksy, the Plan Agent      No objection.
                                                                       4          directed his staff to prepare a detailed “Condition
                                                                                  Report” dated May 8, 2019, which has been                      Sustained
                                                                       5                                                                         Overruled
                                                                                  admitted into evidence as Exhibit P6, describing
                                                                       6          the Banksy and containing numerous pictures of
                                                                                  the artwork. The Plan Agent testified that the
                                                                       7          preparation of the Condition Report was “standard
                                                                                  operating procedure” and prepared for all artworks
                                                                       8          in his possession.
                                                                              91. The Banksy remains in the custody of the Plan          No objection.
                                                                       9
                                                                                  Agent at a storage location located in Vernon,
                                                                                  California as of the date of the Evidentiary                   Sustained
                                                                      10                                                                         Overruled
                                                                                  Hearing.
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11      92. The record does not indicate that the Plan Agent       Plan Agent objects as 400 SLB
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                  ever informed 400 SLB of his custody of the            directs the Court to review the
                                                                      12          Banksy until the filing of his Application and the     entire adversary proceeding
                                                                                  Plan Agent’s testimony does not otherwise              docket, and bankruptcy docket,
                                                                      13                                                                 in support of this statement, and
                                                                                  indicate that he informed 400 SLB that the Banksy      cites 110 consecutive pages of
                                                                      14          was in his custody prior to the filing of his          testimony without directing the
                                                                                  Application.                                           Court's attention to any particular
                                                                      15
SulmeyerKupetz,




                                                                                                                                         one.
                                                                      16                                                                         Sustained
                                                                                                                                                 Overruled
                                                                      17

                                                                      18
                                                                                   B.     CONCLUSIONS OF LAW
                                                                      19
                                                                                   The below chart identifies each of the 52 proposed conclusions of law contained in the
                                                                      20
                                                                           Proposed Findings, and Plan Agent's responses to those conclusion. All emphasis is in the
                                                                      21
                                                                           original. Capitalized terms that are not otherwise defined have the meaning given them in Plan
                                                                      22
                                                                           Agent's proposed findings of fact and conclusions of law, submitted on March 15, 2022 [Docket
                                                                      23
                                                                           No. 1257].
                                                                      24

                                                                      25
                                                                            NO.                CONCLUSIONS OF LAW                                   RESPONSE
                                                                      26
                                                                                                   General Procedure
                                                                      27
                                                                              1.    The Plan Agent’s filing of the Application initiated There must be an actual dispute
                                                                      28            this contested matter governed by Bankruptcy         for there to be a contested matter.


                                                                                                                           33
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                  Desc
                                                                                                Main Document    Page 35 of 60



                                                                       1          Rule 9014.                                             Thus, filing an application is not
                                                                                                                                         sufficient to initiate a contested
                                                                       2                                                                 matter, though an opposition to
                                                                                                                                         an application may initiate one.
                                                                       3
                                                                             2.   Given that the Plan Agent, through his              No objection.
                                                                       4          Application, is asserting a right to execute on the
                                                                                  Banksy as property of Ace Museum, and that 400             Sustained
                                                                       5                                                                     Overruled
                                                                                  SLB, through their 400 SLB Opposition, asserts an
                                                                       6          adverse claim to the Banksy, the Court finds that
                                                                                  this matter should proceed as an action to quiet
                                                                       7          title under California Code of Civil Procedure §
                                                                                  760.010, et seq.
                                                                       8     3.   As the Plan Agent commenced this contested          No objection.
                                                                       9          matter through the filing of his Application, he
                                                                                  holds the burden of proof by a preponderance of            Sustained
                                                                                  evidence.                                                  Overruled
                                                                      10
                                                                                              The Lease and the Pilaster
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11
                              LOS ANGELES, CALIFORNIA 90071-1406




                                                                             4.   The terms of the Lease govern the respective           Plan Agent agrees that the Lease
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                      12          rights of lessor 400 SLB and lessee Ace Museum         governs disputes as to issues that
                                                                                  and/or Mr. Chrismas (as applicable) over the           fall within the scope of its terms.
                                                                      13          Pilaster.
                                                                             5.   The Pilaster does not constitute a “Trade Fixture”     The Drywall meets the definition
                                                                      14                                                                 of a Trade Fixture as that term is
                                                                                  under Paragraph 7.3(a) of the Lease, as it cannot
                                                                                  be reasonably viewed as “machinery or                  used in Paragraph 7.3(a) of the
                                                                      15
SulmeyerKupetz,




                                                                                  equipment”, as required under the Lease for Trade      Lease because it was an object
                                                                                                                                         built by Mr. Chrismas using
                                                                      16          Fixtures. The Pilaster was: (1) consistent with, and   goods he owned or controlled,
                                                                                  appeared integrated into the Renovation Project;       for the purpose of conducting his
                                                                      17          (2) lost any individual identity outside of such       business at the Premises, and
                                                                                  purpose when attached to the real property; and (3)    thus meets the California
                                                                      18                                                                 Commercial Code definition of
                                                                                  did not actively perform any function or service
                                                                                  other than serving as an element of the real           equipment as "all goods used for
                                                                      19                                                                 business purposes, except for
                                                                                  property’s construction.                               inventory and farm products."
                                                                      20                                                                 Cal. Com. Code § 9102(a)(33).
                                                                      21                                                                 Further, the Drywall had all the
                                                                                                                                         characteristics that Mr.
                                                                      22                                                                 Pagliassotti identified were
                                                                                                                                         relevant to determining whether
                                                                      23                                                                 an object is a trade fixture, as it
                                                                                                                                         was: (1) brought in by a tenant
                                                                      24                                                                 and placed at a leased location,
                                                                                                                                         (2) used so long as the building
                                                                      25                                                                 is occupied, then removed when
                                                                                                                                         the tenant leaves, (3) bolted to
                                                                      26                                                                 something, but could be removed
                                                                                                                                         without damage to the premises.
                                                                      27                                                                 Day 4 Transcript, 169:20-171:2.
                                                                      28

                                                                                                                         34
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                   Desc
                                                                                                Main Document    Page 36 of 60



                                                                       1     6.   The Pilaster does not constitute a “Utility             The Drywall meets the definition
                                                                                  Installation” under Paragraph 7.3(a) of the Lease,      of a "Utility Installation" as that
                                                                       2          as it does not constitute “floor and window             term is used in Paragraph 7.3(a)
                                                                                  coverings, air and/or vacuum lines, power panels,       because it was installed to be part
                                                                       3                                                                  of an electrical distribution
                                                                                  electrical distribution, security and fire protection   system that would hold electrical
                                                                       4          systems, communication cabling, lighting fixtures,      cables and provide electricity to a
                                                                                  HVAC equipment, plumbing, and fencing” as               Robert Irwin light sculpture.
                                                                       5          defined under the Lease.
                                                                             7.   The Pilaster was an Alteration defined under            To the extent the Drywall does
                                                                       6          Paragraph 7.3(a) of the Lease, as it not a “Trade       not meet the definition of a
                                                                                  Fixture” or “Utility Installation” as defined under     Utility Installation or a Trade
                                                                       7                                                                  Fixture under the Lease, then it
                                                                                  Paragraph 7.3(a) of the Lease, and because the
                                                                                                                                          met the definition of an
                                                                       8          Pilaster was a “modification of the improvements        Alteration.
                                                                                  [of the La Brea Property]… whether by addition or
                                                                       9          deletion”.
                                                                             8.   Pursuant to Paragraph 7.3(a) of the Lease, the          To the extent the Drywall does
                                                                      10                                                                  not meet the definition of a
                                                                                  Pilaster was a “Lessee Owned Alteration” as it
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR




                                                                                  was an “Alteration” made by the lessee.                 Utility Installation or a Trade
  A Professional Corporation




                                                                      11                                                                  Fixture under the Lease, then it
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                                                                          was a "Lessee Owned
                                                                      12                                                                  Alteration" during its existence at
                                                                                                                                          the Premises until it was
                                                                      13                                                                  removed in 2011.
                                                                      14     9.  Pursuant Paragraph 7.4(a) of the Lease, although         Paragraph 7.4(a) of the Lease
                                                                                 the lessee held certain ownership rights to the          states in part that Lessee Owned
                                                                      15
SulmeyerKupetz,




                                                                                 Pilaster as a “Lessee Owned Alteration”, it was at       Alterations "shall be the property
                                                                                 all times contractually deemed “part of the              of Lessee, but considered a part
                                                                      16                                                                  of the Premises."
                                                                                 Premises”, i.e., part of the La Brea Property.
                                                                      17     10. Because, under Paragraph 7.4(a) of the Lease, the        Paragraph 7.4(a) of the Lease
                                                                                 Pilaster was considered part of the La Brea              states that prior to termination of
                                                                      18                                                                  the Lease, the ownership right of
                                                                                 Property, any ownership rights of the lessee in the
                                                                                 Pilaster as a “Lessee Owned Alteration” were             tenant to Lessee Owned
                                                                      19                                                                  Alterations is subject only to
                                                                                 subject to 400 SLB’s ownership rights in the real        "Lessor's right to require removal
                                                                      20         property.                                                or elect ownership as hereafter
                                                                                                                                          provided."
                                                                      21

                                                                      22

                                                                      23     11. When the Lease terminated, which occurred no             This is not necessarily true, as
                                                                                 later than the date that the UD Judgment was             Paragraph 7.4 of the Lease states
                                                                      24                                                                  that such transfer of Lessee
                                                                                 entered (i.e. September 2, 2016), pursuant to
                                                                                 Paragraph 7.4(a) of the Lease, any rights the lessee     Owned Alterations occurs
                                                                      25                                                                  "Unless otherwise instructed per
                                                                                 may have held in “Lessee Owned Alterations”              paragraph 7.4(b) hereof".
                                                                      26         were forfeited and all “Lessee Owned Alterations”
                                                                                 became the sole property of the lessor 400 SLB.
                                                                      27                      The Lease and the Banksy
                                                                      28     12. Pursuant to Paragraph 7.3(a) of the Lease, the           400 SLB uses term "Banksy" in

                                                                                                                          35
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                Desc
                                                                                                Main Document    Page 37 of 60



                                                                       1          Banksy when painted on to the Pilaster, was an       this context to mean the particles
                                                                                  “Alteration”, as it was a “modification of the       of spray paint that were sprayed
                                                                       2          improvements [of the La Brea Property]…              upon the Drywall, creating the
                                                                                  whether by addition or deletion”.                    art object that is now referred to
                                                                       3                                                               as the "Banksy". Pursuant to
                                                                                                                                       California law of Accession, that
                                                                       4                                                               spray paint did not keep its own
                                                                                                                                       separate legal existence, but
                                                                       5                                                               became the property of Ace
                                                                                                                                       Museum, which owned the
                                                                       6                                                               Drywall upon which it was
                                                                                                                                       placed.
                                                                       7
                                                                                                                                       400 SLB cites no law for the
                                                                       8                                                               proposition that spray paint that
                                                                                                                                       appears on leased premises can
                                                                       9                                                               qualify as an "Alteration" as that
                                                                                                                                       term is used in this case. Further,
                                                                      10                                                               treating such spray paint as an
                                                                                                                                       "Alteration" which would require
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11                                                               consent to modify, is contrary to
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                                                                       Paragraph 7.1 of the Lease which
                                                                      12                                                               requires the tenant to remove
                                                                                                                                       graffiti which appears on the
                                                                      13                                                               premises.
                                                                             13. Pursuant to Paragraph 7.3(a) of the Lease, the        The spray paint particles that
                                                                      14         Banksy did not constitute a “Lessee Owned             formulate the art referred to in
                                                                                 Alteration” as it was not affixed to the La Brea      this case as the "Banksy" became
                                                                      15
SulmeyerKupetz,




                                                                                 Property by the lessee.                               owned by the owner of the
                                                                                                                                       Drywall, upon its appearance,
                                                                      16                                                               pursuant to California law
                                                                                                                                       regarding accession.
                                                                      17     14. Because the Pilaster was deemed part of the La        The art known as the "Banksy"
                                                                                 Brea Property pursuant to Paragraph 7.4(a) of the     was not "affixed to the Pilaster
                                                                      18         Lease, the Banksy, which was affixed to the           via spray paint" as the particles
                                                                                 Pilaster via spray paint, was, in turn, deemed part   of spray paint are the only thing
                                                                      19                                                               that the "Banksy" artwork is
                                                                                 of the La Brea Property upon affixation.              comprised of. As the Drywall
                                                                      20                                                               was owned by Ace Museum at
                                                                                                                                       the time, California accession
                                                                      21                                                               law provides that the those
                                                                                                                                       particles of spray paint became
                                                                      22                                                               owned by Ace Museum as well.
                                                                                         The Applicable Industry Standards
                                                                      23
                                                                             15. 400 SLB’s expert, Mr. Pagliassotti is sufficiently    400 SLB conflates two separate
                                                                      24         qualified to testify as an expert on industry         concepts in this statement: (1)
                                                                                 standards (“Industry Standards”) relating to the      that the parties used some form
                                                                      25         use and application of the Lease in the applicable    of a lease the AIRCRE
                                                                                                                                       Committee prepared at some
                                                                                 industry, based on, among other things, the           point, as a base document which
                                                                      26
                                                                                 following: (1) since 2006, Mr. Pagliassotti has       the parties then modified, and (2)
                                                                      27         been a lead member of the AIRCRE contracts            the "Lease" includes not only
                                                                                 committee which drafted the subject form Lease,       changes to the base document,
                                                                      28         (2) Mr. Pagliassotti has written two books and        but an Addendum of significant
                                                                                                                                       length, and an Exhibit "B" to the
                                                                                                                         36
                                                                     Case 2:15-ap-01679-RK    Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                Desc
                                                                                               Main Document    Page 38 of 60



                                                                       1          conducted seminars and other educational            Addendum, as well as a First
                                                                                  programs regarding the commercial leases; (3) Mr.   Amendment to the Lease which
                                                                       2          Pagliassotti has over 35 years’ experience          is not made on an AIRCRE form.
                                                                                  regarding commercial lease transactions; and (4)
                                                                       3                                                              Thus Mr. Pagliassotti is not
                                                                                  Mr. Pagliassotti has overseen and/or managed        qualified to testify to industry
                                                                       4          construction projects, including tenant             standards as to the "Lease" as
                                                                                  improvements, worth tens of millions of dollars.    that term is defined in this case,
                                                                       5          The Plan Agent has not objected to the              but is qualified to testify as to
                                                                                  qualifications of Mr. Pagliassotti as an expert.    form leases drafted by the
                                                                       6                                                              AIRCRE Committee.
                                                                       7
                                                                             16. According to Industry Standards, a principal         Mr. Pagliassotti testified that the
                                                                       8         purpose of Paragraph 7.4(a) of the Lease, which      purpose was to make clear who
                                                                                 deems Lessee Owned Alterations “property of the      owned the alteration. See Day 4
                                                                       9                                                              Transcript, 174:5:
                                                                                 Lessee, but considered a part of the Premises” was
                                                                      10         to shift the insurance obligation for Lessee Owned "And I said, had the tenant built
                                                                                 Alterations from the lessor (under Paragraphs 1.8  the wall and you hadn't declared
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11         and 8.3) to the lessee (under Paragraph 8.4).      ownership of that wall, that
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                                                                    tenant, along with the computer
                                                                      12                                                            equipment, would be making a
                                                                                                                                    claim for the wall and paying for
                                                                      13                                                            the – the insurance company
                                                                                                                                    would be repairing the wall on
                                                                      14                                                            the tenant's premium – or on the
                                                                                                                                    tenant's policy.
                                                                      15
SulmeyerKupetz,




                                                                             17. According to Industry Standards, the Lease did not This sentence is unintelligible as
                                                                                 intend that Paragraph 7.3(a) would give the lessee the "Lease" cannot intend
                                                                      16         a right of possession for any Alterations          anything. Further, the Lease
                                                                                                                                    specifically states that Lessee-
                                                                      17                                                            Owned Alterations are owned by
                                                                                                                                    the tenant. Thus it is false that
                                                                      18                                                            the Lease is silent as to
                                                                                                                                    ownership or right of possession
                                                                      19                                                            as to Alterations.
                                                                             18. According to Industry Standards, improvement       There is no dispute that Mr.
                                                                      20         such as walls considered a permanent part of the   Pagliassotti states this in his
                                                                                 real property.                                     report. However, the parties
                                                                      21                                                            bargained for specific treatment
                                                                                                                                    of walls in the Lease, as
                                                                      22                                                            evidenced in the Addendum
                                                                                                                                    Section 3 and Exhibit "B" to the
                                                                      23                                                            Addendum, and as such the
                                                                                                                                    Industry Standard is not relevant
                                                                      24                                                            here. California Civil Code 1019
                                                                                                                                    shows that "permanence" is not a
                                                                      25                                                            relevant consideration in
                                                                                                                                    determining whether a tenant can
                                                                      26                                                            remove things built on leased
                                                                                                                                    property, and the relevant
                                                                      27                                                            consideration is (1) damage that
                                                                                                                                    would be occasioned on an
                                                                      28                                                            object's removal, and (2) whether

                                                                                                                       37
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                Desc
                                                                                                Main Document    Page 39 of 60



                                                                       1                                                                the thing has become an integral
                                                                                                                                        part of the premises
                                                                       2     19. It is not within Industry Standards for a lessee to    The Lease contains specific
                                                                                 remove drywall from real property; drywall is          statements as to the treatment of
                                                                       3         considered a permanent improvement (i.e. a             drywall under the Lease,
                                                                                 fixture).                                              specifically in Section 3 of the
                                                                       4                                                                Addendum in which the tenant
                                                                                                                                        notifies 400 SLB that it will be
                                                                       5                                                                regularly erecting and taking
                                                                                                                                        down interior, nonstructural
                                                                       6                                                                walls and performing related
                                                                                                                                        drywall finish and repair.
                                                                       7     20. According to Industry Standards, furnishings,          Mr. Pagliassotti's report states:
                                                                                 equipment and trade fixtures have a stand-alone        "Typically, Furnishings &
                                                                       8         value and retain an intrinsic value separate and       Equipment have a stand-alone
                                                                                 apart from the real property and can be reinstalled    value." Mr. Pagliassotti does not
                                                                       9                                                                include "trade fixtures" in this
                                                                                 in other locations to be used again.                   discussion.
                                                                      10
                                                                                                                                        The cited portion of Mr.
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11                                                                Pagliassotti's testimony is that
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                                                                        Mr. Pagliassotti views an object
                                                                      12                                                                that can be removed without
                                                                                                                                        damage to the premises to be a
                                                                      13                                                                trade fixture. Day 4 Transcript,
                                                                                                                                        170:21. No portion of the
                                                                      14                                                                transcript citation discusses
                                                                                                                                        "stand-alone value" and "intrinsic
                                                                      15
SulmeyerKupetz,




                                                                                                                                        value".
                                                                      16     21. According to Industry Standards, removal of a          Mr. Pagliassotti's report does not
                                                                                 permanent improvement cannot be done without           contain this statement, nor does
                                                                      17         damage to the improvement itself.                      the statement make logical sense.
                                                                      18                                                                Further, the cited portion of the
                                                                                                                                        hearing transcript nowhere
                                                                      19                                                                contains this statement.
                                                                             22. According to Industry Standards, drywall has no        Mr. Pagliassotti's report does
                                                                      20         intrinsic value; once it is removed, it cannot be      contain this statement,
                                                                                 reused.                                                However, he makes this
                                                                      21                                                                statement only in the context of
                                                                                                                                        determining whether an object is
                                                                      22                                                                "Furnishings & Equipment" –
                                                                                                                                        not a trade fixture.
                                                                      23     23. Applying the applicable Industry Standards, the        The term "permanent
                                                                                 Pilaster was a permanent improvement of the real       improvement" is not a relevant
                                                                      24                                                                term in the Lease, nor is it
                                                                                 property, based on the following: (1) the Pilaster,
                                                                                 which is substantially similar to a wall, is           relevant to California law
                                                                      25                                                                relating to accession and removal
                                                                                 considered a permanent part of real property; (2) it   of tenant improvements on
                                                                      26         is not customary for a lessee to remove an             property. The term, even if it
                                                                                 alteration such as the Pilaster;: (3) the Pilaster,    had a precise definition which it
                                                                      27         made of drywall and steel beams, did not have a        does not, thus does not assist the
                                                                                 stand-alone value separate and apart from the real     Court in the determination of any
                                                                      28                                                                relevant issue. The Lease
                                                                                 property; (4) the Pilaster could not be removed

                                                                                                                         38
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                  Desc
                                                                                                Main Document    Page 40 of 60



                                                                       1          without damaging the Pilaster itself; and (5) once     contained terms regarding the
                                                                                  removed, the components of the Pilaster could not      installation and removal of
                                                                       2          be, and was not, reused.                               Utility Installations, Trade
                                                                                                                                         Fixtures, and Alterations, and the
                                                                       3                                                                 concept of "permanence" is not
                                                                                                                                         relevant to any of the numerous
                                                                       4                                                                 terms relating to that, including
                                                                                                                                         paragraph 7.1 which specifically
                                                                       5                                                                 allows removal of Alterations.
                                                                       6                                                                 It is also incorrect that "the
                                                                                                                                         components of the Pilaster could
                                                                       7                                                                 not be, and was not, reused." as
                                                                                                                                         the components of the Pilaster
                                                                       8                                                                 include the Banksy, which is
                                                                                                                                         now an art object with material
                                                                       9                                                                 value.
                                                                      10          The Lease and the Removal of the Pilaster and
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR




                                                                                                         Banksy
  A Professional Corporation




                                                                      11     24. The removal of the Banksy (along with a portion         To the extent the Drywall is a
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                 of the Pilaster) separately constitutes an              Lessee Owned Alteration, this
                                                                      12                                                                 statement is correct.
                                                                                 “Alteration” under the Lease, as it was a
                                                                      13         “modification of the improvements [on the La
                                                                                 Brea Property]… whether by addition or deletion”
                                                                      14         as defined under Paragraph 7.3(a) of the Lease.
                                                                             25. Ace Museum was contractually prohibited from            Ace Museum was authorized to
                                                                      15
SulmeyerKupetz,




                                                                                 removing either the Pilaster and/or the Banksy          remove the Banksy pursuant to
                                                                                 from the La Brea Property and such unauthorized         Paragraph 7.1(a) of the Lease, as
                                                                      16                                                                 it was graffiti, and pursuant to
                                                                                 removal did not impact 400 SLB’s rights to the
                                                                                                                                         Section 6.2 of the Lease, as it
                                                                      17         Pilaster and/or the Banksy based on the following:      was a Hazardous Substance.
                                                                                 (1) Paragraph 7.3(b) of the Lease requires, without     Those are exceptions to
                                                                      18         exception, that lessee obtain the consent of lessor     Paragraph 7.3(b) of the Lease
                                                                                 prior to the making of any Alterations to the La        which requires consent to make
                                                                      19                                                                 Alterations.
                                                                                 Brea Property; (2) certain exceptions to the
                                                                      20         consent requirement provided under Paragraph
                                                                                 7.3(b) contained in the form AIRCRE lease were          Unless the Court deems the
                                                                                                                                         Drywall to be a Utility
                                                                      21         specifically struck by agreement between the            Installation, the changes from the
                                                                                 parties; (3) neither Paragraph 3 of the Lease           form Paragraph 7.3(b) are
                                                                      22         Addendum nor the July 20, 2006 Letter explicitly        irrelevant as that language relates
                                                                                 supersede or carve out any exceptions to the            only to Utility Installations.
                                                                      23
                                                                                 consent requirement provided under Paragraph
                                                                                 7.3(b) of the Lease; and (4) the record reflects that   The Addendum states, on its
                                                                      24                                                                 face, that it explicitly supersedes
                                                                                 no consent was obtained from 400 SLB to remove          the Lease and that also includes
                                                                      25         either the Pilaster or the Banksy,                      Exhibit "B" to the Addendum.
                                                                      26                                                                 Additionally, 400 SLB consented
                                                                                                                                         to removal of the Drywall by
                                                                      27                                                                 consenting to the Plans, which
                                                                                                                                         showed the Drywall as not
                                                                      28                                                                 existing at the Premises.

                                                                                                                         39
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                  Desc
                                                                                                Main Document    Page 41 of 60



                                                                       1
                                                                                                                                         Additionally, circumstantial
                                                                       2                                                                 evidence of consent exists due to
                                                                                                                                         the fact that 400 SLB did not
                                                                       3                                                                 object to a portion of the Drywall
                                                                                                                                         being removed any time after
                                                                       4                                                                 April 14, 2010—a fact which
                                                                                                                                         was open and knowable to any
                                                                       5                                                                 person who visited the Property
                                                                                                                                         or who walked past the Property
                                                                       6                                                                 on La Brea Avenue, from April
                                                                                                                                         2010 until the remainder of the
                                                                       7                                                                 Drywall was removed and
                                                                                                                                         replaced some time in 2011.
                                                                       8

                                                                       9                The Value of the Banksy is a Relevant
                                                                                                     Consideration
                                                                      10     26. The Court finds that the Banksy has, and at all         Plan Agent does not object to the
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR




                                                                                 times relevant, had substantial value, both             Court finding that the evidence
  A Professional Corporation




                                                                      11                                                                 indicates that the Banksy has a
                                                                                 economic and aesthetic, as is reflected in the
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                 record, as follows: (1) Mr. Leslie testified that the   value of between $10,000 and
                                                                      12                                                                 $250,000. No other evidence of
                                                                                 Banksy had an appraised value of between                value was given.
                                                                      13         $10,000-$250,000 (2) Banksy is a world-renowned
                                                                                 street artist; (3) Mr. Chrismas chose not to simply     Plan Agent disagrees with the
                                                                      14         paint over or remove the Banksy, as was common          conclusory statements in support
                                                                                 with defacing graffiti, but instructed his staff to     of this finding, as follows:
                                                                      15
SulmeyerKupetz,




                                                                                 extract the Banksy from the La Brea Property for
                                                                                                                                         Regarding (1), this is not correct,
                                                                      16         safekeeping; (4) Mr. Chrismas hired a 24-hour           as Plan Agent testified that an
                                                                                 guard to protect the Banksy shortly after it            auctioneer informed him that the
                                                                      17         appeared; (5) Mr. Chrismas drafted a press release      Banksy could have a value of
                                                                                 explaining that Ace Museum was protecting               between $10,000 to $250,000.
                                                                      18
                                                                                 Banksy and the artwork would be returned to the
                                                                                 La Brea Property; (6) Mr. Chrismas moved the            Regarding (2), that is a correct
                                                                      19                                                                 statement.
                                                                                 Banksy to the Storage Facility, rather than discard
                                                                      20         it; (7) Mr. Chrismas never intended to sell the         Regarding (3), this statement is
                                                                                 Banksy; (8) after the Plan Agent took possession        actually incorrect as Mr.
                                                                      21         of the Banksy, he treated it as any other artwork       Chrismas did choose to remove
                                                                                 under his care, including obtaining a Condition         the Banksy from the Premises.
                                                                      22
                                                                                 Report regarding the same; (9) Mr. Leslie sought
                                                                                 to authenticate and appraise the Banksy and offer       Regarding (4), that is a correct
                                                                      23                                                                 statement.
                                                                                 it for sale; and (10) Mr. Leslie and 400 SLB are
                                                                      24         now locked in contentious litigation over the           Regarding (5), the press release
                                                                                 artwork.                                                was drafted, and states numerous
                                                                      25                                                                 things, but there is no evidence
                                                                                                                                         that he was "explaining"
                                                                      26                                                                 anything as there is no evidence
                                                                                                                                         that the press release was to be
                                                                      27                                                                 distributed to anybody, or if so,
                                                                                                                                         who.
                                                                      28

                                                                                                                         40
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40              Desc
                                                                                                Main Document    Page 42 of 60



                                                                       1                                                             Regarding (6), that is a correct
                                                                                                                                     statement.
                                                                       2
                                                                                                                                     Regarding (7), that is a correct
                                                                       3                                                             statement which also shows Mr.
                                                                                                                                     Chrismas understood that he had
                                                                       4                                                             the power to determine whether
                                                                                                                                     the Banksy was sold, or not.
                                                                       5
                                                                                                                                     Regarding (8), that is a correct
                                                                       6                                                             statement.
                                                                       7                                                             Regarding (9), Plan Agent sought
                                                                                                                                     to authenticate and appraise the
                                                                       8                                                             Banksy, and he filed the
                                                                                                                                     Application that gave rise to this
                                                                       9                                                             contested matter. The remaining
                                                                                                                                     statements contained in this point
                                                                      10                                                             are not correct.
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11                                                             Regarding (10), that is a correct
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                                                                     statement.
                                                                      12

                                                                      13     27. The Court’s finding that the Banksy has             This statement is incorrect. The
                                                                                 substantial                                         Dreamland court did discuss
                                                                      14         value, both aesthetic and economic, is an           value, but in a different context.
                                                                                 important consideration in this contested matter.   There, a lease stated, essentially,
                                                                      15
SulmeyerKupetz,




                                                                                                                                     that all things at the premises
                                                                                                                                     were owned by the Landlord.
                                                                      16                                                             The Dreamland court recognized
                                                                                                                                     an exception in the law for things
                                                                      17                                                             of no material value, such as dirt,
                                                                                                                                     that would allow tenants to
                                                                      18                                                             remove items even though the
                                                                                                                                     lease states they do not own
                                                                      19                                                             them. The Dreamland court
                                                                                                                                     stated that that narrow exception
                                                                      20                                                             could not apply in that case,
                                                                                                                                     because the removed object had
                                                                      21                                                             value. Thus, the lease terms
                                                                                                                                     applied.
                                                                      22
                                                                                                                                     Here, the Lease applies to this
                                                                      23                                                             dispute, and value of "Utility
                                                                                                                                     Installations," "Trade Fixtures",
                                                                      24                                                             and "Lessee Owned Alterations"
                                                                                                                                     is irrelevant.
                                                                      25         The Banksy Does Not Constitute Graffiti
                                                                                 Contemplated Under the Lease and Does not
                                                                      26         Fall under the Repair Obligations of the Lease
                                                                      27     28. Banksy is a world-renowned street artist, as      No objection.
                                                                                 recognized by the Second Circuit Court of Appeals
                                                                      28         as “appearing alongside President Barack Obama           Sustained
                                                                                                                                          Overruled

                                                                                                                        41
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                  Desc
                                                                                                Main Document    Page 43 of 60



                                                                       1         and Apple founder Steve Jobs on Time magazine’s
                                                                                 list of the world’s 100 most influential people” and
                                                                       2         his works have sold for hundreds of thousands, if
                                                                                 not millions of dollars, including a “Girl with
                                                                       3
                                                                                 Balloon” painting which sold for $1.4 million,
                                                                       4         after which the work partially “self-destructed” via
                                                                                 a hidden paper shredder insider the frame.
                                                                       5     29. In California, graffiti is a form of vandalism          This is not a precise statement of
                                                                                 punishable under California Penal Code § 594,           the law, as other elements must
                                                                       6         which provides that one is guilty of vandalism if,      also exist for "vandalism" to
                                                                                 with respect to personal or real property, he or she    occur, including a mental state of
                                                                       7                                                                 being "malicious", and that the
                                                                                 “defaces [that property] with graffiti or other         act cannot be allowed by other
                                                                       8         inscribed material”.                                    law.
                                                                       9                                                                 California Penal Code Section
                                                                                                                                         594 states in relevant part:
                                                                      10
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR




                                                                                                                                         (a) Every person who
  A Professional Corporation




                                                                      11
                                                                                                                                         maliciously commits any of the
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                      12                                                                 following acts with respect to
                                                                                                                                         any real or personal property not
                                                                      13                                                                 his or her own, in cases other
                                                                                                                                         than those specified by state law,
                                                                      14                                                                 is guilty of vandalism:
                                                                      15
SulmeyerKupetz,




                                                                                                                                         (1) Defaces with graffiti or other
                                                                      16                                                                 inscribed material.

                                                                      17                                                                 (2) Damages.

                                                                      18                                                                 (3) Destroys.

                                                                      19     30. Under California common law, to “deface” is “[t]o       This is an inaccurate statement
                                                                                 mar the face, features, or appearance of; to spoil or   from In re Nicholas Y., 85 Cal.
                                                                      20         ruin the figure, form, or beauty of; to disfigure.      App. 4th 941, 944 (2000). There,
                                                                                                                                         the question was whether
                                                                      21                                                                 defacing property by a marker
                                                                                                                                         pen which marker could be easily
                                                                      22                                                                 rubbed away, qualified as
                                                                                                                                         defacement. The Court did cite
                                                                      23                                                                 to the Oxford English Dictionary
                                                                                                                                         for a definition of the term,
                                                                      24                                                                 which is the language 400 SLB
                                                                                                                                         cites to, but did not adopt that
                                                                      25                                                                 definition of the term "deface",
                                                                                                                                         as that was not necessary to its
                                                                      26                                                                 holding. Its holding was limited
                                                                                                                                         to stating that the term "deface"
                                                                      27                                                                 did not include a concept of
                                                                                                                                         permanence or difficulty of
                                                                      28                                                                 erasure.

                                                                                                                         42
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                Desc
                                                                                                Main Document    Page 44 of 60



                                                                       1     31. The maintenance and repair obligations under          Paragraph 7.1(a) required Ace
                                                                                 Paragraph 7.1(a) of the Lease were not implicated     Museum to remove graffiti, and
                                                                       2         when the Banksy appeared on the La Brea               that included the Banksy. Plan
                                                                                 Property based on the following findings and          Agent further responds to 400
                                                                       3                                                               SLB's numbered points as
                                                                                 conclusions: (1) the Banksy has, and at all times     follows:
                                                                       4         relevant, had substantial value, both economic and
                                                                                 aesthetic; (2) the affixation of the Banksy did not   (1) Correct that the Banksy has
                                                                       5         “deface” the La Brea Property and did not             value, but incorrect that that is a
                                                                                 adversely affect the repair or condition of the       relevant issue when it comes to
                                                                       6         improvements thereon, but rather enhanced the         (a) any term of the Lease, (b) any
                                                                                                                                       relevant aspect of California law
                                                                       7         value of such improvements; (3) Mr. Chrismas          including the California Penal
                                                                                 never considered the Banksy defacing graffiti, but    Code.
                                                                       8         considered it a “wonderful artwork”; (4) the
                                                                                 actions of Mr. Chrismas and/or Ace Museum             (2) When spray paint was
                                                                       9         reflect that the Banksy was never treated as          applied to the Drywall, that
                                                                                 defacing graffiti, which would be traditionally       constituted defacement as that
                                                                      10         painted over or cleansed from the La Brea             term is used in the California
                                                                                                                                       Penal Code, and falls within the
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR




                                                                                 Property; and (5) the Banksy was at all times
  A Professional Corporation




                                                                      11                                                               Oxford English Dictionary use of
                              LOS ANGELES, CALIFORNIA 90071-1406




                                                                                 relevant treated as a work of art by Mr. Chrismas,
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                                                                       the term, as noted in In re
                                                                      12         Ace Museum and/or the Plan Agent, the latter of       Nicholas Y., 85 Cal. App. 4th
                                                                                 which has secured the Banksy in storage and           941, 944 (2000). There is no
                                                                      13         treated the Banksy as any other artwork               discussion in In re Nicholas Y as
                                                                                 in his possession.                                    to the value of the defacement,
                                                                      14                                                               and that is because no part of that
                                                                                                                                       definition looks to value. This
                                                                      15
SulmeyerKupetz,




                                                                                                                                       Court heard repeated testimony
                                                                                                                                       from numerous witnesses as to
                                                                      16                                                               the Drywall being made of
                                                                                                                                       materials, and being painted a
                                                                      17                                                               certain way, in order for it to
                                                                                                                                       look a certain way regarding the
                                                                      18                                                               objects around it such as ceilings,
                                                                                                                                       floors, and other walls. Spray
                                                                      19                                                               paint on the Drywall changed
                                                                                                                                       that. Yes, Mr. Chrismas viewed
                                                                      20                                                               that new item as valuable, but he
                                                                                                                                       also recognized that the Drywall
                                                                      21                                                               was irrevocably altered.
                                                                      22                                                               (3) Mr. Chrismas did testify that
                                                                                                                                       he viewed graffiti as artwork, but
                                                                      23                                                               that most of it was "usually very
                                                                                                                                       low-level art, or attempts at art"
                                                                      24                                                               Day 4 Transcript, 72:6". Further,
                                                                                                                                       he referred to the Banksy as
                                                                      25                                                               graffiti numerous times in the
                                                                                                                                       Press Release (Exhibit P-9) and
                                                                      26                                                               when discussing the Banksy at
                                                                                                                                       trial, did not deny it was graffiti,
                                                                      27                                                               instead denying only that it was
                                                                                                                                       "graffiti that needed to be
                                                                      28                                                               removed". Day 4 Transcript,

                                                                                                                        43
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                   Desc
                                                                                                Main Document    Page 45 of 60



                                                                       1                                                                 72:3.
                                                                       2                                                                 (4) The term "defacing graffiti"
                                                                                                                                         is incorrect here, as all graffiti is
                                                                       3                                                                 defacing for the reasons 400 SLB
                                                                                                                                         points out in its citation to the
                                                                       4                                                                 California Penal Code and In re
                                                                                                                                         Nicholas Y., 85 Cal. App. 4th
                                                                       5                                                                 941, 944 (2000). It is true that
                                                                                                                                         Mr. Chrismas treated the Banksy
                                                                       6                                                                 as graffiti which had value as a
                                                                                                                                         stand-alone art object.
                                                                       7
                                                                                                                                         (5) This is a correct statement.
                                                                       8                                                                 Graffiti is art, as stated by Mr.
                                                                                                                                         Chrismas, albeit most graffiti is
                                                                       9                                                                 usually very low-level art, or
                                                                                                                                         attempts at art.
                                                                      10     32. Alternatively, even if the appearance of the            Paragraph 7.1(a) specifically
                                                                                                                                         permits removal of Alterations in
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR




                                                                                 Banksy implicated the repair obligations under
  A Professional Corporation




                                                                      11         Paragraph 7.1(a) of the Lease, the actions of Mr.       order to comply with its
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                 Chrismas and/or Ace Museum fell outside of the          provisions, and there is no
                                                                      12                                                                 "reasonableness" component
                                                                                 scope of such repair obligations, as the destruction    stated in that paragraph.
                                                                      13         and removal of an underlying wall (i.e. the             Certainly there is a good faith
                                                                                 Pilaster) was not a reasonable means by which to        component to the terms of a
                                                                      14         clean up graffiti, based on the following findings      contract, and Mr. Chrismas's
                                                                                 and conclusions: (1) graffiti was a regular             removal of the Banksy complied
                                                                      15
SulmeyerKupetz,




                                                                                 occurrence at the La Brea Property; (2) in each         with that good faith requirement,
                                                                                                                                         as follows:
                                                                      16         case, graffiti was cleaned from the surface on
                                                                                 which it was painted, or painted over; (3)              (1) Mr. Chrismas did not hide
                                                                      17         improvements constructed on the La Brea                 the fact that he removed a
                                                                                 Property were never removed in order to clean up        portion of the Drywall. That fact
                                                                      18         graffiti; (4) the Banksy itself was affixed to the La   was immediately apparent to
                                                                                 Brea Property using spray paint and could have          anyone who visited the Premises,
                                                                      19         reasonably been removed via use of paint to cover       or walked past the Premises, and
                                                                                                                                         the cut in the Drywall for a
                                                                      20         up the artwork; (5) there is no evidence in the         period of approximately one
                                                                                 record that, in order to “repair” the Pilaster after    year.
                                                                      21         affixation of the Banksy, it was necessary for the
                                                                                 Pilaster to be destroyed by way of cutting out the      (2) Mr. Chrismas testified that
                                                                      22         Banksy therefrom; (6) there is no evidence in the       he did attempt to keep the
                                                                                 record that Mr. Chrismas and/or Ace Museum              Banksy in place for a while, but
                                                                      23                                                                 the danger was too great. In the
                                                                                 considered the act of removing the Banksy as a
                                                                                                                                         Press Release (Exhibit P-9), he
                                                                      24         necessary “repair” of the La Brea Property; and (7)     stated he would need to hire a
                                                                                 following extraction of the Banksy from the             security guard for his security
                                                                      25         Pilaster, the Banksy was not discarded, but moved       guard. At trial, he provided more
                                                                                 to a secure storage, in order to “protect” the          information as to what he meant
                                                                      26         Banksy.                                                 precisely by that: one of his
                                                                                                                                         security guards reported being
                                                                      27                                                                 approached by a person or
                                                                                                                                         persons wanting to tie him up in
                                                                      28                                                                 exchange for a payment of

                                                                                                                         44
                                                                     Case 2:15-ap-01679-RK   Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40        Desc
                                                                                              Main Document    Page 46 of 60



                                                                       1                                                     $10,000. The Banksy became
                                                                                                                             too dangerous to remain in its
                                                                       2                                                     existing location. Had it
                                                                                                                             remained, it would have
                                                                       3                                                     increased the liability of 400
                                                                                                                             SLB by being an attractive
                                                                       4                                                     nuisance—a crime magnet. Mr.
                                                                                                                             Chrismas was not required to
                                                                       5                                                     wait until a security guard was
                                                                                                                             actually tied up, or worse, to
                                                                       6                                                     solve the problem. He did it in a
                                                                                                                             way which preserved the Banksy.
                                                                       7
                                                                                                                             Further, the evidence indicates
                                                                       8                                                     that removing the Banksy did not
                                                                                                                             even ruin the Drywall—at least,
                                                                       9                                                     not initially. Mr. Chrismas
                                                                                                                             stated that he intended to return
                                                                      10                                                     the Banksy to its same location –
                                                                                                                             this would have restored the
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11                                                     Drywall to its original condition,
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                                                             and meant that the original
                                                                      12                                                     Drywall still had significant
                                                                                                                             value, or perhaps even greater
                                                                      13                                                     value now as a future frame that
                                                                                                                             would hold the Banksy. Mr.
                                                                      14                                                     Chrismas stated in the Press
                                                                                                                             Release that this is precisely
                                                                      15
SulmeyerKupetz,




                                                                                                                             what he intended to do, and
                                                                                                                             would do, as soon as the plate
                                                                      16                                                     glass window and other security
                                                                                                                             features were in place.
                                                                      17
                                                                                                                             The only reason the remaining
                                                                      18                                                     Drywall was removed at all was
                                                                                                                             because in early 2011 Mr.
                                                                      19                                                     Chrismas instructed Mr.
                                                                                                                             Hernandez to repair it, and Mr.
                                                                      20                                                     Hernandez concluded he could
                                                                                                                             not do so, without taking it down
                                                                      21                                                     and rebuilding it, which is what
                                                                                                                             he did.
                                                                      22
                                                                                                                             (3) This is addressed in response
                                                                      23                                                     to FOF #75, above. Briefly, Mr.
                                                                                                                             Hernandez stated that he never
                                                                      24                                                     cut out graffiti, but no other
                                                                                                                             witness testified as to that issue,
                                                                      25                                                     and Mr. Hernandez began
                                                                                                                             working at the Premises only in
                                                                      26                                                     2011.
                                                                      27                                                     (4) Covering up the spray paint
                                                                                                                             with more paint would not have
                                                                      28                                                     removed the spray paint, but

                                                                                                                 45
                                                                     Case 2:15-ap-01679-RK   Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40         Desc
                                                                                              Main Document    Page 47 of 60



                                                                       1                                                     probably would have complied
                                                                                                                             with the maintenance
                                                                       2                                                     requirement of Paragraph 7.1.
                                                                                                                             The artwork, in that situation
                                                                       3                                                     would be permanently destroyed.
                                                                       4                                                     Whether or not that would have
                                                                                                                             been "reasonable" is the subject
                                                                       5                                                     of the articles this Court directed
                                                                                                                             the parties to in the Court's
                                                                       6                                                     tentative ruling posted before the
                                                                                                                             hearing on January 14, 2022.
                                                                       7                                                     The general takeaway from those
                                                                                                                             articles is that for certain types of
                                                                       8                                                     art, which the Banksy falls into,
                                                                                                                             the law should consider whether
                                                                       9                                                     there is a better way to balance
                                                                                                                             the public good of having nice
                                                                      10                                                     art, versus restrictions on
                                                                                                                             personal rights such as the right
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11                                                     to have no graffiti on one's
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                                                             property. Plan Agent submits
                                                                      12                                                     that it is reasonable to attempt to
                                                                                                                             preserve such art, rather than
                                                                      13                                                     destroy it, especially here as
                                                                                                                             there are no conflicting rights
                                                                      14                                                     implicated and Ace Museum
                                                                                                                             owned the Drywall.
                                                                      15
SulmeyerKupetz,




                                                                                                                             (5) The reason there is no
                                                                      16                                                     evidence on this is because it is
                                                                                                                             common knowledge that spray
                                                                      17                                                     paint is so sticky, that when it
                                                                                                                             appears on a surface, there is no
                                                                      18                                                     way to remove it from that
                                                                                                                             surface without destroying the
                                                                      19                                                     paint. The concept of
                                                                                                                             "stickiness" is discussed at length
                                                                      20                                                     in the articles referenced by this
                                                                                                                             Court in its January 14, 2022
                                                                      21                                                     tentative ruling.
                                                                      22                                                     (6) The evidence indicates that
                                                                                                                             the appearance of the Banksy
                                                                      23                                                     caused an immediate crime
                                                                                                                             problem and within days raised
                                                                      24                                                     the robbery/assault threat at the
                                                                                                                             Premises. Mr. Chrismas
                                                                      25                                                     described this in the Press
                                                                                                                             Release as needing a security
                                                                      26                                                     guard for his security guard.
                                                                                                                             Thus, removal of the Banksy (or
                                                                      27                                                     destruction of the Banksy) was
                                                                                                                             necessary to fix this problem and
                                                                      28                                                     maintain the Premises.

                                                                                                                 46
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                Desc
                                                                                                Main Document    Page 48 of 60



                                                                       1
                                                                                                                                        (7) This is a true statement,
                                                                       2                                                                though there are other reasons
                                                                                                                                        besides "protecting the Banksy"
                                                                       3                                                                that the Banksy was removed—
                                                                                                                                        as stated above.
                                                                       4

                                                                       5          Right of 400 SLB to Banksy and Pilaster Upon
                                                                                                      Removal
                                                                       6     33. Because the Pilaster and the Banksy were               The Drywall at all times was
                                                                                 considered part of the La Brea Property pursuant       owned by Ace Museum. The
                                                                       7                                                                doctrine of replevin applies when
                                                                                 to the terms of the Lease, and that they were
                                                                                 removed without the consent of 400 SLB, 400            the removed chattel (here, the
                                                                       8                                                                Banksy) is the property of
                                                                                 SLB maintains a right for immediate possession of      someone other than the party
                                                                       9         the wrongfully removed Pilaster and Banksy under       who removed it. Here, the
                                                                                 the common law doctrine of replevin.                   removing party, Ace Museum,
                                                                      10                                                                owned the Drywall.
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11                                                                Any cause of action would also
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                                                                        fail due to application of
                                                                      12                                                                Paragraph 7.1 of the Lease and
                                                                                                                                        6.2 to the extent the Drywall
                                                                      13                                                                became a hazardous substance,
                                                                                                                                        which did occur as Mr. Chrismas
                                                                      14                                                                testified at trial that criminals
                                                                                                                                        approached his security guard
                                                                      15
SulmeyerKupetz,




                                                                                                                                        and offered to tie him up.
                                                                      16                                                                Further, to the extent any such
                                                                                                                                        right did exist, 400 SLB failed to
                                                                      17                                                                exercise that right as it became
                                                                                                                                        aware, or should have been
                                                                      18                                                                aware, that a portion of the
                                                                                                                                        Drywall was removed in April
                                                                      19                                                                2010, but took no action and for
                                                                                                                                        that reason, to the extent any
                                                                      20                                                                cause of action did exist, the
                                                                                                                                        statute of limitations on that
                                                                      21                                                                cause of action ran, at the
                                                                                                                                        earliest, four years after the
                                                                      22                                                                remainder of the Drywall was
                                                                                                                                        completely removed and
                                                                      23                                                                replaced with a new pilaster.
                                                                      24
                                                                             34. Under California law, “[r]eal or immovable             This citation is not complete, as
                                                                      25                                                                there is a fourth category of
                                                                                 property consists of: (1) land; (2) that which is
                                                                                 affixed to land; and (3) that which is incidental or   property identified in CC 658
                                                                      26                                                                that relates to growing crops (not
                                                                                 appurtenant to land”.
                                                                                                                                        a relevant issue here). For that
                                                                      27                                                                reason, the cited text is correct
                                                                                                                                        with the change of the word
                                                                      28                                                                "consists of" to "includes" or,

                                                                                                                         47
                                                                     Case 2:15-ap-01679-RK      Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                     Desc
                                                                                                 Main Document    Page 49 of 60



                                                                       1                                                                    alternatively, ending the
                                                                                                                                            statement with an ellipses instead
                                                                       2                                                                    of a period.
                                                                             35. Pursuant to California Civil Code § 660,                   This is another incorrect cite, as
                                                                       3         something is “affixed to land”, otherwise known            the word "fixture" appears in the
                                                                                 as a “fixture”, if “it is attached to it by roots, as in   title of CC 660, but not in the
                                                                       4                                                                    actual text of the statute. Thus,
                                                                                 the case of trees, vines, or shrubs; or imbedded in
                                                                                                                                            to correct this statement, the
                                                                       5         it, as in the case of walls; or permanently resting        statement should be that Pursuant
                                                                                 upon it, as in the case of buildings; or permanently       to CC 660:
                                                                       6         attached to what is thus permanent, as by means of
                                                                                 cement, plaster, nails, bolts, or screws….”                "A thing is deemed to be affixed
                                                                       7                                                                    to land when it is attached to it
                                                                                                                                            by roots … [insert remainder of
                                                                       8                                                                    cited language]"
                                                                             36. In determining whether or not something is a               In the Court's tentative ruling
                                                                       9         fixture, California courts consider three criteria:        posted before the January 14,
                                                                                 (1) the manner of its annexation; (2) its                  2022 hearing, the Court directed
                                                                      10                                                                    the parties to 3 Miller and Starr
                                                                                 adaptability to the use and purpose for which the
                                                                                                                                            California Real Estate 4th,
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR




                                                                                 realty is used; and (3) the intention of the party
  A Professional Corporation




                                                                      11                                                                    Section 9.42 (tests for whether an
                              LOS ANGELES, CALIFORNIA 90071-1406




                                                                                 making the annexation.
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                                                                            item is a fixture).
                                                                      12
                                                                                                                                            That section of Miller and Starr
                                                                      13                                                                    identifies six tests for when
                                                                                                                                            something is a fixture:
                                                                      14
                                                                                                                                            (1) the manner in which the item
                                                                      15
SulmeyerKupetz,




                                                                                                                                            is annexed to the underlying
                                                                                                                                            realty;
                                                                      16                                                                    (2) its adaptability to the use and
                                                                                                                                            purpose for which the realty is
                                                                      17                                                                    used;
                                                                                                                                            (3) the intention of the party
                                                                      18                                                                    annexing the item;
                                                                                                                                            (4) the difficulty of removal of
                                                                      19                                                                    the item;
                                                                                                                                            (5) the destruction caused by the
                                                                      20                                                                    realty by its removal; and
                                                                                                                                            (6) the relationship between the
                                                                      21                                                                    parties.
                                                                      22
                                                                             37. Even if the Court were to disregard the provisions         Plan Agent agrees that the
                                                                      23         of the Lease and alternatively apply California law        Drywall probably would meet
                                                                                 on fixtures, the Pilaster (and therefore the Banksy,       the definition of a fixture, though
                                                                      24                                                                    not for the reasons stated by 400
                                                                                 which was later affixed thereto via spray paint)
                                                                                                                                            SLB.
                                                                      25         would constitute a fixture by meeting the
                                                                                 California three part test, as follows: (1) it was         (1) there is no dispute as to how
                                                                      26         attached to the La Brea Property via power driven          the Drywall was attached, and its
                                                                                 nails into the concrete floor and into the                 method of attachment weighs in
                                                                      27         underlying split face cinderblock wall and by bolts        favor of it being a fixture;
                                                                      28         into the ceiling soffit; (2) the Pilaster was part of
                                                                                                                                            (2) the Drywall was not
                                                                                 the Renovation Project and was constructed to

                                                                                                                            48
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                 Desc
                                                                                                Main Document    Page 50 of 60



                                                                       1          serve a specific purpose with respect thereto, that    particularly adapted to its
                                                                                  is, it would be integrated into the façade of the      location, and did not even appear
                                                                       2          building and be enclosed by a plate glass window       in Ace Museum's plans for the
                                                                                  and would also support an interior wall on which       Renovation Project, however it
                                                                       3                                                                 was constructed to frame a
                                                                                  the Robert Irwin light sculpture would be installed;   Robert Irwin light sculpture and
                                                                       4          and (3) the record reflects that it was Mr.            appears to have been reasonably
                                                                                  Chrismas’ intention that the Pilaster would serve      adapted for that use.
                                                                       5          the specific purpose heretofore described in (2).
                                                                                                                                         There is no evidence that the
                                                                       6                                                                 Robert Irwin light sculpture
                                                                                                                                         would hang upon a wall, and
                                                                       7                                                                 there is no evidence that the
                                                                                                                                         Drywall would support such
                                                                       8                                                                 second wall. Testimony at trial
                                                                                                                                         was that the Robert Irwin light
                                                                       9                                                                 sculpture would run directly into
                                                                                                                                         the cinderblock wall, and the
                                                                      10                                                                 Drywall would either remain
                                                                                                                                         between the sculpture and the
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11                                                                 plate glass (Mr. Chrismas's
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                                                                         testimony) or removed entirely
                                                                      12                                                                 (all diagrams contained in the
                                                                                                                                         Plans and Image Book).
                                                                      13
                                                                                                                                         (3) the intent of Mr. Chrismas
                                                                      14                                                                 when he constructed the Drywall
                                                                                                                                         was to frame a Robert Irwin light
                                                                      15
SulmeyerKupetz,




                                                                                                                                         sculpture and look aesthetically
                                                                                                                                         pleasing. As such, his intent was
                                                                      16                                                                 to use the Drywall in connection
                                                                                                                                         with the business he ran at the
                                                                      17                                                                 Property.
                                                                      18                                                                 (4) and (5): The Drywall was
                                                                                                                                         easily removed by Mr.
                                                                      19                                                                 Hernandez without damage to
                                                                                                                                         the Premises, which weighs
                                                                      20                                                                 against treating the Drywall as a
                                                                                                                                         fixture,
                                                                      21
                                                                                                                                         (6) Mr. Chrismas's relationship
                                                                      22                                                                 with 400 SLB was a standard
                                                                                                                                         landlord/tenant relationship. To
                                                                      23                                                                 the extent California law would
                                                                                                                                         be looked to, to determine
                                                                      24                                                                 whether Mr. Chrismas could
                                                                                                                                         remove the Drywall, courts
                                                                      25                                                                 would look to CC 1019, which
                                                                                                                                         states:
                                                                      26
                                                                                                                                         "A tenant may remove from the
                                                                      27                                                                 demised premises, any time
                                                                                                                                         during the continuance of his
                                                                      28                                                                 term, anything affixed thereto for

                                                                                                                         49
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                Desc
                                                                                                Main Document    Page 51 of 60



                                                                       1                                                              purposes of trade, manufacture,
                                                                                                                                      ornament, or domestic use, if the
                                                                       2                                                              removal can be effected without
                                                                                                                                      injury to the premises, unless the
                                                                       3                                                              thing has, by the manner in
                                                                                                                                      which it is affixed, become an
                                                                       4                                                              integral part of the premises."
                                                                       5                                                              Plan Agent notes, again, that the
                                                                                                                                      Banksy was not "affixed" to the
                                                                       6                                                              Drywall by spray paint. Rather,
                                                                                                                                      the art object is the spray paint
                                                                       7                                                              itself, which bonded to the
                                                                                                                                      underlying Drywall and, as per
                                                                       8                                                              California law regarding
                                                                                                                                      accession, became owned by the
                                                                       9                                                              owner of the Drywall.
                                                                      10     38. Given that the Lease sufficiently addresses “trade   Plan Agent agrees that the Lease
                                                                                                                                      address all issues within the
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR




                                                                                 fixtures”, California Civil Code § 1019 does not
  A Professional Corporation




                                                                      11         apply to the Pilaster.                               scope of its terms. To the extent
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                                                                      there is an issue that does not fall
                                                                      12                                                              squarely within the scope of the
                                                                                                                                      terms of the Lease, then
                                                                      13                                                              California law can be applied to
                                                                                                                                      interpret the terms of the Lease.
                                                                      14
                                                                                                                                      Here, should the Court determine
                                                                      15
SulmeyerKupetz,




                                                                                                                                      the Drywall to fall within the
                                                                                                                                      definition of "Trade Fixture,"
                                                                      16                                                              then that controls this dispute, as
                                                                                                                                      Ace Museum had the ability
                                                                      17                                                              under the Lease to remove Trade
                                                                                                                                      Fixtures at any time – there
                                                                      18                                                              would be no need to look to CC
                                                                                                                                      1019. Should the Court
                                                                      19                                                              determine the Drywall to be an
                                                                                                                                      Alteration, then CC 1019 might
                                                                      20                                                              have applicability to the extent
                                                                                                                                      there is an issue that is not
                                                                      21                                                              directly addressed by the Lease.
                                                                                                                                      Plan Agent submits that one
                                                                      22                                                              issue not directly addressed by
                                                                                                                                      the Lease is this: the rights of
                                                                      23                                                              400 SLB should Ace Museum
                                                                                                                                      make an alteration "by deletion"
                                                                      24                                                              without the power under the
                                                                                                                                      Lease, or consent, to do so (400
                                                                      25                                                              SLB's rights if the alteration is
                                                                                                                                      "by addition" are addressed in
                                                                      26                                                              the Lease, which is the right to
                                                                                                                                      demand the alteration be
                                                                      27                                                              removed).
                                                                      28                                                              As to that issue alone, reference

                                                                                                                        50
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                  Desc
                                                                                                Main Document    Page 52 of 60



                                                                       1                                                                  to CC 1019 may be helpful as an
                                                                                                                                          indication of California public
                                                                       2                                                                  policy: that tenants may attach
                                                                                                                                          business-related things to
                                                                       3                                                                  property they lease, and can
                                                                                                                                          remove them later, provided that
                                                                       4                                                                  there's no material harm to the
                                                                                                                                          landlord in doing so.
                                                                       5
                                                                             39. Given that Banksy was not painted by, or at the          This is not correct, as CC 1019
                                                                       6         direction of the lessee of the La Brea Property,         applies to the Drywall, and the
                                                                                 California Civil Code § 1019 does not apply to the       spray paint that appeared on the
                                                                       7                                                                  Drywall on April 10, 2010, by
                                                                                 Banksy, as the statute only applies to activities of a
                                                                                                                                          the California doctrine of
                                                                       8         lessee.                                                  accession under CC 1025,
                                                                                                                                          became owned by the owner of
                                                                       9                                                                  the Drywall.
                                                                             40. Alternatively, even if the terms of the Lease did        The Drywall itself was built for
                                                                      10         not supersede California Civil Code California           the purpose of "trade,
                                                                                                                                          manufacture, ornament, or
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR




                                                                                 Civil Code § 1019, the statute would not apply to
  A Professional Corporation




                                                                      11                                                                  domestic use" and thus could be
                                                                                 the Banksy as the Banksy was not affixed by the
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                                                                          removed by tenant under CC
                                                                      12         lessee, and was affixed without the knowledge or         1019 provided that no exceptions
                                                                                 consent of the lessee. Therefore, the Banksy could       to that apply. The spray paint
                                                                      13         not be something affixed to the La Brea Property         upon the Drywall did not have
                                                                                 for the purposes of a lessee’s “trade, manufacture,      separate ownership and instead
                                                                      14         ornament, or domestic use” as required by the            became owned by the owner of
                                                                                 statute.                                                 the Drywall pursuant to CC
                                                                      15
SulmeyerKupetz,




                                                                                                                                          1025, as soon as it appeared.
                                                                      16                                                                  Again, Plan Agent's position is
                                                                                                                                          that the terms of the Lease do
                                                                      17                                                                  apply to any dispute within the
                                                                                                                                          scope of its terms.
                                                                      18
                                                                             41. Alternatively, even if the terms of the Lease did        This is the first time 400 SLB
                                                                      19         not supersede California Civil Code California           has asserted that the Drywall
                                                                                 Civil Code § 1019, the statute would not apply to        "was not intended to hold any art
                                                                      20                                                                  when installed" and directly
                                                                                 the Pilaster based on the following: (1) the
                                                                                                                                          contradicts Mr. Chrismas's
                                                                      21         installation of Pilaster is consistent with the          testimony that the purpose of
                                                                                 Renovation Project and it fits within the overall        building the Drywall was to
                                                                      22         design of the façade of the building and therefore       frame the Robert Irwin light
                                                                                 became an integral party of the La Brea Property;        sculpture. 400 SLB's
                                                                      23         (2) the Pilaster served no specific purpose relating     admission—now--that the
                                                                                 to the lessee’s “trade”, as it was not intended to       Drywall had no artistic purpose
                                                                      24                                                                  when built is consistent with the
                                                                                 hold any art when installed but was intended to be       Plans which showed the Drywall
                                                                      25         an element of construction – that is, a pilaster         as not existing at the Premises.
                                                                                 covering a split face cinderblock wall and
                                                                      26         integrated with the building’s general architectural     Plan Agent submits that 400
                                                                                 design; (3) Mr. Chrismas intended that the Pilaster      SLB's statement that the Drywall
                                                                      27         would remain on the La Brea Property                     had no artistic purpose when
                                                                                 permanently; (4) even if the Pilaster had a loose        built should be rejected as not
                                                                      28                                                                  supported by the evidence. In
                                                                                 relationship to the lessee’s trade, it was an element

                                                                                                                          51
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                 Desc
                                                                                                Main Document    Page 53 of 60



                                                                       1          of construction and did not serve any specialized     this particular case, according to
                                                                                  or specific purpose with respect to lessee’s trade.   Mr. Chrismas's trial declaration,
                                                                       2                                                                Robert Irwin himself had
                                                                                                                                        specifications as to how his art
                                                                       3                                                                was to be displayed, and the
                                                                                                                                        Drywall was part of that display.
                                                                       4
                                                                                                                                        The Drywall was constructed for
                                                                       5                                                                purposes of trade, manufacture,
                                                                                                                                        ornament, or domestic use, as it
                                                                       6                                                                was designed to frame the Robert
                                                                                                                                        Irwin light sculpture and built
                                                                       7                                                                according to Mr. Irwin's
                                                                                                                                        specifications. It held no weight
                                                                       8                                                                other than its own. After it was
                                                                                                                                        attached to the floor, ceiling, and
                                                                       9                                                                cinderblock wall, nothing was
                                                                                                                                        ever attached to it again, at any
                                                                      10                                                                time. It was designed to have an
                                                                                                                                        aesthetically pleasing look
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11                                                                because that is how art galleries
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                                                                        run their business.
                                                                      12
                                                                                                                                        Regarding element (3), CC 1019
                                                                      13                                                                does not draw a distinction
                                                                                                                                        between fixtures built which are
                                                                      14                                                                intended to remain on the site,
                                                                                                                                        versus fixtures which are not.
                                                                      15
SulmeyerKupetz,




                                                                                            California Law on Accession
                                                                      16
                                                                             42. California Civil Code § 1013 does not apply to the     Plan Agent agrees the Lease
                                                                      17         Pilaster as the Lease sufficiently addresses           controls as to any issues within
                                                                                 ownership rights relating to improvements made         the scope of its terms. CC 1013
                                                                      18         by the lessee.                                         is the Civil Code section relating
                                                                                                                                        to fixtures made to "Land". It
                                                                      19                                                                appears unlikely that the Drywall
                                                                                                                                        was affixed to "Land" and thus,
                                                                      20                                                                Plan Agent agrees that other
                                                                                                                                        provisions of the California Civil
                                                                      21                                                                Code are more likely to apply in
                                                                                                                                        the event the Lease does not
                                                                      22                                                                address a particular issue
                                                                                                                                        directly.
                                                                      23
                                                                                                                                        Plan Agent agrees that the Lease
                                                                      24                                                                does directly address ownership
                                                                                                                                        of "Trade Fixtures" as well as
                                                                      25                                                                "Lessee-Owned Alterations" and
                                                                                                                                        "Lessee-Owned Utility
                                                                      26                                                                Installations". As to those three
                                                                                                                                        categories, the Lease states that
                                                                      27                                                                the tenant owns those objects.

                                                                      28     43. California Civil Code § 1013.5 is inapplicable to      The question is whether Ace
                                                                                                                                        Museum had the right to remove
                                                                                                                          52
                                                                     Case 2:15-ap-01679-RK      Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                    Desc
                                                                                                 Main Document    Page 54 of 60



                                                                       1          this contested matter, as it creates a private right of   the Banksy, and as to that CC
                                                                                  action which can be exercised only by an improver         1013.5 could apply to the dispute
                                                                       2          of real property, provided that certain conditions        to the extent the Lease does not
                                                                                  precedent are met and (1) the Plan Agent is not an        address a particular issue
                                                                       3                                                                    directly. In that instance, CC
                                                                                  improver of the La Brea Property; (2) the Plan            1013.5 could apply only if the
                                                                       4          Agent has no legal basis to assert any right Ace          Drywall is deemed to be affixed
                                                                                  Museum may have previously held under                     to "land".
                                                                       5          California Civil Code § 1013.5; (3) Ace Museum
                                                                                  never satisfied the conditions precedent under            Further, CC 1013.5 speaks both
                                                                       6          California Civil Code § 1013.5 that payment be            in terms of the "rights" of a party
                                                                                                                                            that constructs something, which
                                                                       7          made to 400 SLB, prior to the removal of the              are relevant to this discussion,
                                                                                  improvement, and for all damages relating to the          and "rights of action" that party
                                                                       8          installation and removal of such improvement; and         could assert. "Rights of action"
                                                                                  (4) the Plan Agent has made no offer to                   are relevant to this discussion
                                                                       9          compensate 400 SLB for its attorneys’ fees and            only as evidence that the policy
                                                                                  costs, as required under California Civil Code §          in California is to give protection
                                                                      10          1013.5(b).                                                to parties that build things on the
                                                                                                                                            property of another "erroneously
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11                                                                    believing because of a mistake
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                                                                            either of law or fact that he has a
                                                                      12                                                                    right to do so," CC 1013.5(a),
                                                                                                                                            and as further statutory support
                                                                      13                                                                    for finding that Ace Museum had
                                                                                                                                            the right to remove the Banksy
                                                                      14                                                                    under certain conditions
                                                                                                                                            identified in that Code section.
                                                                      15
SulmeyerKupetz,




                                                                      16     44. California Civil Code § 1013.5 could not apply to          The issue is the right to remove
                                                                                 the Banksy. California Civil Code § 1013.5                 the underlying Drywall. The
                                                                      17         provides a private right of action only to a party         Banksy became owned by the
                                                                                 making an improvement to real property who does            owner of the Drywall as soon as
                                                                      18                                                                    the spray paint touched the
                                                                                 so under a mistaken belief they have the right to          Drywall.
                                                                      19         do so, and the record reflects that the Banksy was
                                                                                 not installed by the lessee and there is no evidence       Evidence indicates that Banksy
                                                                      20         that the party responsible for attaching the Banksy        was given a key to the Property,
                                                                                 to the La Brea Property acted under any good faith         and thus had "consent" to at least
                                                                      21         belief that they had the right to do so. Further, the      visit the Property. Whether or
                                                                                                                                            not that would support a good
                                                                      22         party responsible for attaching the Banksy is not a        faith belief that the invitee could
                                                                                 party to this proceeding, and the Plan Agent has no        spray graffiti on the property, is
                                                                      23         legal basis to assert any right such party may have        not discussed in the record and
                                                                                 had under California Civil Code § 1013.5.                  not relevant anyway. The
                                                                      24                                                                    issue—to the extent CC 1013 is
                                                                                                                                            relevant to the analysis at all--is
                                                                      25                                                                    whether Mr. Chrismas built the
                                                                                                                                            Drywall "erroneously believing
                                                                      26                                                                    because of a mistake of law or
                                                                                                                                            fact that he has a right to do so".
                                                                      27                                                                    As to that issue, the evidence
                                                                                                                                            supports a finding that Mr.
                                                                      28                                                                    Chrismas built the Drywall in

                                                                                                                           53
                                                                     Case 2:15-ap-01679-RK     Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                 Desc
                                                                                                Main Document    Page 55 of 60



                                                                       1                                                                good faith.
                                                                             45. The three-year statute of limitations under            Plan Agent agrees that the Court
                                                                       2         California Code of Civil Procedure § 338(e)            should apply the statute of
                                                                                 applicable to actions based on mistake applies to      limitations to this dispute, and
                                                                       3                                                                find that the time period for 400
                                                                                 any private right of action created under Civil
                                                                                                                                        SLB to assert rights with respect
                                                                       4         Code § 1013.5.                                         to the removed portion of the
                                                                                                                                        Drywall lapsed, at the very latest,
                                                                       5                                                                four years after Mr. Hernandez
                                                                                                                                        removed the remainder of the
                                                                       6                                                                Drywall and rebuilt a pilaster in
                                                                                                                                        its place.
                                                                       7     46. As to the Pilaster, to the extent the lessee           Plan Agent agrees that the Court
                                                                                 previously held any right under Civil Code §           should apply the statute of
                                                                       8         1013.5, it was required to bring an action to          limitations to this dispute,
                                                                       9         remove it sometime between July 2011 and
                                                                                                                                        Here, CC 1013.5, to the extent it
                                                                                 September 2012, as the record reflects that the        applies at all, gave Ace Museum
                                                                      10         Pilaster was installed sometime between July 2007      the right to remove the Drywall
                                                                                 and September 2008.                                    at any time—with no need to
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11                                                                commence litigation to do so.
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                             47. Although the Banksy is considered part of the La       The legal analysis 400 SLB
                                                                      12         Brea Property under the terms of the Lease, as it is   suggests is this:
                                                                                 an “Alteration” as defined thereunder, it may also
                                                                      13                                                                (1) If the Lease does not
                                                                                 be deemed part of the La Brea Property under
                                                                                                                                        otherwise apply, and
                                                                      14         California Civil Code § 1013 because: (1) it was       (2) If the Drywall is considered
                                                                                 affixed to the Pilaster, which was contractually       land, and
                                                                      15
SulmeyerKupetz,




                                                                                 considered part of the La Brea Property pursuant       (3) If CC 1013 applies, and
                                                                                 to Paragraph 7.4(a) of the Lease; and (2) there is     (4) If the exception in CC 1013
                                                                      16         no evidence of any agreement between 400 SLB           and 1013.5 does not apply, then
                                                                                 and the artist Banksy regarding affixation or          (5) Upon the Banksy's
                                                                      17                                                                appearance, it became owned by
                                                                                 removal of the Banksy. As such, the Banksy,            the owner of the "Land".
                                                                      18         “belongs to the owner of the land” pursuant to
                                                                                 California Civil Code § 1013.                          There are numerous problems
                                                                      19                                                                with this analysis, which are
                                                                                                                                        summarized briefly as:
                                                                      20
                                                                                                                                        (1) If the Lease does not apply,
                                                                      21                                                                then there is no California law
                                                                                                                                        that would treat the Drywall as
                                                                      22                                                                "land". 400 SLB can point only
                                                                                                                                        to Paragraph 7.4(a) of the Lease
                                                                      23                                                                which identifies Lessee Owned
                                                                                                                                        Alterations are "considered a part
                                                                      24                                                                of the Premises" – an argument
                                                                                                                                        that disappears if the premise is
                                                                      25                                                                that the Lease does not apply to
                                                                                                                                        the dispute.
                                                                      26
                                                                                                                                        (2) There is no California law
                                                                      27                                                                that would treat the Drywall as
                                                                                                                                        land. At best, California law
                                                                      28                                                                might state that the Drywall was

                                                                                                                         54
                                                                     Case 2:15-ap-01679-RK    Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                Desc
                                                                                               Main Document    Page 56 of 60



                                                                       1                                                              itself attached to "land". CC
                                                                                                                                      1013, however, does not address
                                                                       2                                                              things that are attached to things
                                                                                                                                      that are themselves attached to
                                                                       3                                                              land.
                                                                       4                                                              (3) CC 1013 thus would not
                                                                                                                                      apply to spray paint being
                                                                       5                                                              sprayed onto a wall which is part
                                                                                                                                      of a building which is resting on
                                                                       6                                                              land.
                                                                       7                                                              (4) Conceded that the exception
                                                                                                                                      in 1013 and 1013.5 would not
                                                                       8                                                              apply to whoever spray painted
                                                                                                                                      the Drywall, but the result of that
                                                                       9                                                              is that the spray paint would
                                                                                                                                      become owned by the owner of
                                                                      10                                                              the Drywall.
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11                                                              (5) Conceded that upon the
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                                                                      Banksy's appearance, it became
                                                                      12                                                              owned by the owner of the
                                                                                                                                      Drywall.
                                                                      13

                                                                      14         400 SLB Did not Waive Any Rights to the
                                                                                 Banksy
                                                                      15
SulmeyerKupetz,




                                                                             48. “Waiver is the intentional relinquishment of a       No objection.
                                                                      16         known right after knowledge of the facts.”
                                                                                 (emphasis added). Specifically, “[t]here can be no          Sustained
                                                                                 waiver where the one against whom it is asserted            Overruled
                                                                      17
                                                                                 has acted without full knowledge of the facts. It
                                                                      18         cannot be presumed, in the absence of such
                                                                                 knowledge, that there was an intention to waive an
                                                                      19         existing right.”
                                                                      20     49. “The burden, moreover, is on the party claiming a    No objection.
                                                                                 waiver of a right to prove it by clear and
                                                                      21         convincing                                                  Sustained
                                                                                 evidence that does not leave the matter to                  Overruled
                                                                      22         speculation, and ‘doubtful cases will be decided
                                                                                 against a waiver’.”
                                                                      23
                                                                             50. The Plan Agent has failed to demonstrate, by clear   The issue is whether 400 SLB
                                                                      24         and convincing evidence that 400 SLB had any         had knowledge that the Drywall
                                                                                 knowledge of the Banksy prior to the Plan Agent’s    had a portion of it removed.
                                                                      25         filing of his Application. Mr. Dayan has testified   That is the event that, if 400 SLB
                                                                                                                                      had any rights it could assert
                                                                                 that he had no knowledge of the Banksy until the     under the Lease, triggered its
                                                                      26         Application was filed; Mr. Chrismas has testified    deadline to assert those rights.
                                                                      27         that he never informed 400 SLB of the Banksy or      The evidence indicates that the
                                                                                 its removal; and the evidence submitted by the       Drywall had a hole cut out of it
                                                                      28         Plan Agent in this regard shows only that Mr.        for approximately 1 year, that
                                                                                                                                      such knowledge as openly

                                                                                                                       55
                                                                     Case 2:15-ap-01679-RK    Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                Desc
                                                                                               Main Document    Page 57 of 60



                                                                       1          Dayan was confused and did not fully understand     known to anyone on the
                                                                                  that a Banksy had been painted at the La Brea       Premises, and that 400 SLB's
                                                                       2          Property.                                           management company Fortuna
                                                                                                                                      Management was regularly on
                                                                       3                                                              the Premises.
                                                                       4     51. Soon after the Plan Agent filed the Application,     400 SLB's right to assert that Ace
                                                                                 400 SLB timely opposed the relief requested as to    Museum improperly removed a
                                                                       5         the Banksy.                                          portion of the Drywall expired
                                                                                                                                      due to application of the statute
                                                                       6                                                              of limitations long ago.
                                                                                                                                      California law creates a three-
                                                                       7                                                              year statute of limitations for
                                                                                                                                      "An action for relief on the
                                                                       8                                                              ground of fraud or mistake"
                                                                                                                                      (Code of Civ. Proc. §338, subd.
                                                                       9                                                              (d)), and has a four-year statute
                                                                                                                                      of limitations for "An action
                                                                      10                                                              upon any contract" (§ 337, subd.
                                                                                                                                      (a)).
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                                                                      The Delayed discovery rule does
                                                                      12                                                              not apply as 400 SLB cannot
                                                                                                                                      demonstrate that a reasonable
                                                                      13                                                              investigation would not have
                                                                                                                                      revealed, during the one year
                                                                      14                                                              period after April 14, 2010, that a
                                                                                                                                      portion of the Drywall had been
                                                                      15
SulmeyerKupetz,




                                                                                                                                      removed. Claimants are required
                                                                                                                                      to conduct a reasonable
                                                                      16                                                              investigation after becoming
                                                                                                                                      aware of an injury, and are
                                                                      17                                                              charged with knowledge of the
                                                                                                                                      information that would have
                                                                      18                                                              been revealed by such an
                                                                                                                                      investigation." (Id. at p. 808.)
                                                                      19                                                              "Once the plaintiff has a
                                                                                                                                      suspicion of wrongdoing, and
                                                                      20                                                              therefore an incentive to sue, . . .
                                                                                                                                      it is clear that the plaintiff must
                                                                      21                                                              go find the facts; she [or he]
                                                                                                                                      cannot wait for the facts to find
                                                                      22                                                              her [or him]." (Jolly v. Eli Lilly
                                                                                                                                      & Co. (1988) 44 Cal.3d 1103,
                                                                      23                                                              1111, 245 Cal. Rptr. 658, 751
                                                                                                                                      P.2d 923.).
                                                                      24
                                                                             52. Given 400 SLB’s lack of knowledge regarding the      The evidence indicates that 400
                                                                      25         Banksy’s installation or removal, and its prompt     SLB knew that a portion of the
                                                                                 action taken after the Application was filed, 400    Drywall was removed. It did
                                                                      26                                                              nothing in response to that
                                                                                 SLB did not intentionally relinquish any rights it
                                                                                                                                      knowledge. Its rights with
                                                                      27         has to the Banksy and therefore 400 SLB has not      respect to the removed portion of
                                                                                 waived any rights to the Banksy.                     the Drywall—if it had any such
                                                                      28                                                              rights—expired long ago.

                                                                                                                       56
                                                                     Case 2:15-ap-01679-RK    Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40           Desc
                                                                                               Main Document    Page 58 of 60



                                                                       1
                                                                                                                                 Additionally, the doctrine of
                                                                       2                                                         laches applies here. This
                                                                                                                                 doctrine bars legal claims that
                                                                       3                                                         have been surrendered through
                                                                                                                                 inaction or acquiescence.
                                                                       4                                                         "'Laches is based on the principle
                                                                                                                                 that those who neglect their
                                                                       5                                                         rights may be barred, in equity,
                                                                                                                                 from obtaining relief. . . . The
                                                                       6                                                         elements required to support a
                                                                                                                                 defense of laches include
                                                                       7                                                         unreasonable delay and either
                                                                                                                                 acquiescence in the matter at
                                                                       8                                                         issue or prejudice to the
                                                                                                                                 defendant resulting from the
                                                                       9                                                         delay. . . . Generally, laches is a
                                                                                                                                 question of fact, but where the
                                                                      10                                                         relevant facts are undisputed, it
                                                                                                                                 may be decided as a matter of
                         333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
  A Professional Corporation




                                                                      11                                                         law.' City of Oakland v. Oakland
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL 213.626.2311 • FAX 213.629.4520




                                                                                                                                 Police & Fire Ret. Sys., 224 Cal.
                                                                      12                                                         App. 4th 210, 248, 169 Cal. Rptr.
                                                                                                                                 3d 51 (2014); see also Johnson v.
                                                                      13                                                         City of Loma Linda 24 Cal.4th
                                                                                                                                 61, 67, 99 Cal. Rptr. 2d 316
                                                                      14                                                         (2000). Here 400 SLB never
                                                                                                                                 after April 14, 2010, asserted that
                                                                      15
SulmeyerKupetz,




                                                                                                                                 it possessed an interest in the
                                                                                                                                 removed portion of the Drywall,
                                                                      16                                                         despite it being openly known
                                                                                                                                 that a portion of the Drywall was
                                                                      17                                                         removed.
                                                                      18

                                                                      19
                                                                           Dated: March 29, 2022             SulmeyerKupetz
                                                                      20                                     A Professional Corporation
                                                                      21

                                                                      22
                                                                                                             By:
                                                                      23                                           Victor A. Sahn
                                                                                                                   Steven F. Werth
                                                                      24                                           David V. Sack
                                                                                                                   Attorneys for Sam S. Leslie
                                                                      25

                                                                      26

                                                                      27

                                                                      28

                                                                                                                   57
         Case 2:15-ap-01679-RK                  Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                                      Desc
                                                 Main Document    Page 59 of 60



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 333
South Grand Avenue, Suite 3400, Los Angeles, CA 90071.

A true and correct copy of the foregoing document entitled (specify): PLAN AGENT'S OBJECTIONS TO FINDINGS OF
FACT AND CONCLUSIONS OF LAW REGARDING BANKSY DISPUTE SUBMITTED BY 400 S. LA BREA LLC will be
served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
March 29. 2022 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

     •    Simon Aron saron@wrslawyers.com, eweiman@wrslawyers.com
     •    Jason Balitzer jbalitzer@sulmeyerlaw.com,
          jbalitzer@ecf.inforuptcy.com;dwalker@ecf.inforuptcy.com;kmccamey@sulmeyerlaw.com
     •    Keith Patrick Banner kbanner@greenbergglusker.com,
          sharper@greenbergglusker.com;calendar@greenbergglusker.com
     •    Brian L Davidoff bdavidoff@greenbergglusker.com,
          calendar@greenbergglusker.com;jking@greenbergglusker.com
     •    Carolyn A Dye trustee@cadye.com
     •    Fahim Farivar fahim@farivarlaw.com, catherine@farivarlaw.com;lisa@farivarlaw.com
     •    Alan W Forsley alan.forsley@flpllp.com, awf@fkllawfirm.com,awf@fl-lawyers.net,addy.flores@flpllp.com
     •    J. Bennett Friedman jfriedman@flg-law.com, msobkowiak@flg-law.com;jmartinez@flg-law.com
     •    Michael I. Gottfried mgottfried@elkinskalt.com
     •    Asa S Hami ahami@sulmeyerlaw.com,
          pdillamar@sulmeyerlaw.com;pdillamar@ecf.inforuptcy.com;cblair@sulmeyerlaw.com;ahami@ecf.inforuptcy.com
     •    Elliot C Harvey Schatmeier ehs@birdmarella.com, dthrockmorton@birdmarella.com
     •    Matthew P Kelly mkelly@sulmeyerlaw.com
     •    Daniel A Lev dlev@sulmeyerlaw.com, ccaldwell@sulmeyerlaw.com;dlev@ecf.inforuptcy.com
     •    Krikor J Meshefejian kjm@lnbyg.com
     •    Susan I Montgomery susan@simontgomerylaw.com,
          assistant@simontgomerylaw.com;simontgomerylawecf.com@gmail.com;montgomerysr71631@notify.bestcase.c
          om
     •    Alan I Nahmias anahmias@mbn.law, jdale@mbnlawyers.com
     •    Kurt Ramlo kr@lnbyg.com, kr@ecf.inforuptcy.com
     •    Ekwan E Rhow eer@birdmarella.com, blee@birdmarella.com
     •    David J Richardson drichardson@bakerlaw.com, aagonzalez@bakerlaw.com
     •    Ronald Rus rrus@brownrudnick.com, tlangford@brownrudnick.com
     •    David V Sack dsack@sulmeyerlaw.com, dvsack@gmail.com
     •    Victor A Sahn vsahn@sulmeyerlaw.com,
          pdillamar@sulmeyerlaw.com;pdillamar@ecf.inforuptcy.com;vsahn@ecf.inforuptcy.com;cblair@sulmeyerlaw.com;
          cblair@ecf.inforuptcy.com
    •     Michael C Schneidereit mschneidereit@jonesday.com, scollymore@jonesday.com;tckowalski@jonesday.com
    •     David B Shemano dshemano@shemanolaw.com
    •     Jonathan Seligmann Shenson jshenson@shensonlawgroup.com
    •     Mark Shinderman mshinderman@milbank.com, dmuhrez@milbank.com;dlbatie@milbank.com
    •     Michael D Sobkowiak msobkowiak@flg-law.com, jfriedman@flg-law.com;jmartinez@flg-law.com
    •     Stephen Sorensen , joseperez@tafsattorneys.com
    •     United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
    •     Michael W Vivoli mvivoli@vivolilaw.com, sbrown@vivolilaw.com
    •     Jessica Vogel Jvogel@sulmeyerlaw.com, jvogel@ecf.inforuptcy.com;mviramontes@sulmeyerlaw.com
    •     Howard J Weg hweg@robinskaplan.com
DAP 2734041v1 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                     F 9013-3.1.PROOF.SERVICE
         Case 2:15-ap-01679-RK                  Doc 1261 Filed 03/29/22 Entered 03/29/22 11:45:40                                      Desc
                                                 Main Document    Page 60 of 60


     •    Steven F. Werth swerth@sulmeyerlaw.com, cblair@sulmeyerlaw.com; mviramontes@sulmeyerlaw.com;
          dperez@sulmeyerlaw.com; swerth@ecf.inforuptcy.com
     •    Beth Ann R. Young bry@lnbyg.com, bry@lnbyb.com
     •    Roye Zur rzur@elkinskalt.com, cavila@elkinskalt.com;myuen@elkinskalt.com

                                                                                         Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On (date)                      , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                         Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) March 29, 2022 , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Via Personal Delivery
The Honorable Robert Kwan
U.S. Bankruptcy Court
Roybal Federal Building
255 E. Temple Street
Bin outside of Suite 1682
Los Angeles, CA 90012

                                                                                         Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 March 29, 2022                            Debbie A. Perez                                     /s/Debbie A. Perez
 Date                                      Printed Name                                        Signature




DAP 2734041v1 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                     F 9013-3.1.PROOF.SERVICE
